                 Case 1:24-cv-03744-BAH            Document 16-6          Filed 01/03/25    Page 1 of 84

   Subject: Thank you for contacting the Office of the Attorney General
   From : OAG <OAG@oag .state.md.us>
   To: "ryan@mxt3.com" <ryan@mxt3 .com>
   Date Sent: Wednesday, October 9, 2024 7:27:21 AM GMT-04 :00
   Date Received : Wednesday, October 9, 2024 7:27:24 AM GMT-04:00


    Thank you for taking the time to contact the Maryland Office of the Attorney General.

    If you need assistance with consumer or health billing issues, you can look here:
    https://www.marylandattorneygeneral.gov/Pages/CPD/default.aspx

   For answers to frequently asked questions about our Office and the role of the Attorney General, you can look
   here: https://www.marylandattorneygeneral.gov/Pages/FAQ.aspx

    Your submission will be reviewed and someone from our office will be in touch if more information is needed .

    Sincerely,
    Office of the Attorney General

    <<<<COPY OF YOUR SUBMISSION>>
    Category:

   First Name: Ryan Dillon-Capps
   Last Name : ryan @mxt3.com
   Address I: 1334 Maple Ave
   Address 2:
   City: Essex
   State: Maryland (MD)
   Zip: 21221
   Email: ryan@mxt3.com
   Phone Number: 7033031113

    Previously Contacted the OAG? Yes

   Message:
   Ryan Wagner Attachments 7:16AM (5 minutes ago) to civilrights, anthony.brown, oag, Carolyn.Quattrocki,
   Zenita.Wickham-Hurley, Candace.McLaren-Lanham, doris .lange, Patrick .Sheridan Case Number: C-03-CV-24-
   002264 Case pending in preliminary stage. Last ruling September 17, 2024. Oldest pending: August 20, 2024
   Miles & Stockbridge is Plaintiff's law firm - 3 Principles are directly involved. Aided Plaintiff in a failed attempt
   to commit fraud upon the court. Also violating FMLA leave and ADA 7 Baltimore County Circuit Court Judges
   are directly involved in a fraudulent case that was deficient on day one. TRO signed and dated for June 17, 2024.
   Entered stamp is June 14, 2024. Pro Se Served complaint with signed TRO and stamped on the 14th, given to
   process server on the 14th, served on the 17th . Defendant Loses Lawyer before entered and has mental break -
   PTSD now has catatonia (a life-threatening condition) TRO hearing for June 17th. No Hearing Notes. No
   Transcript. 35 minutes notice to invalid email address. Show Cause ordered 5 days before hearing. 2 days' notice.
   The law firm cited law saying IO days. The law says 20+ days after conference-- no conference. Hearing Judge
   refuse hearing arguments x4 - 3 of them are a violation of Federal Priorities. The fourth one was denied after
   "motion for continuance because" Second Show Cause asking for incarceration. -- This is a fraudulent case and
   the second of the Plaintiffs expert's affidavit says they had access and admins the entire time --- the claims they
   made were false. 2nd Plaintiffs Expert says they committed Estoppel and the Plaintiffs claims are false. Law
   firms withdraw show cause after they are Expert shows they already had access. Premature request for default
   order. Signed the same day with no testimony. and so much more ... to cover up other unlawful and un ethical
   conduct. that covers up more. This is a coverup conspiracy multiple layers deep and in 7 days I will have been
                                                              1/ 2
Office of Attorney General & Civil Rights Unit            Page# I of6                                       Exhibit 105
                 Case 1:24-cv-03744-BAH          Document 16-6        Filed 01/03/25       Page 2 of 84
   trying to stop this madness and every time one group realized what Tam saying is true. They join the madness
   fearing the consequences. Please end this. Tapologize for the directness of this message, but Tcannot remain
   silent any longer. My life is at risk due to a dangerous and life-altering situation brought on by the actions of a
   co-conspirator. Tam on the brink of financial ruin, my reputation has been irreparably damaged, and Tfeel
   trapped by this case. Turgently need relief. T need an immediate email and text response. T need to be freed from
   a case I have effectively won many times over, yet now find myself litigating against the actions and inaction of
   an entire circuit court bench. Please have the office of Anthony Brown contact me at once-I need an urgent
   meeting to discuss a resolution. Tf T default on even a single payment, 1 am prepared to take every measure
   necessary to make my voice heard. I will fight against this injustice, judicial overreach , and become a public
   advocate for due process and ex parte rights. Thave experienced homelessness as a child, and T refuse to put my
   family wife, elderly and disabled mother, or my disabled bother through that now. T apologize for the intensity of
   this message, but T hope it conveys the urgency of my situation. T never asked for this, and 1 have done nothing
   wrong-this has been proven beyond any reasonable doubt. The conspiracy I face has drawn in an entire bench,
   and Tneed this to end now, before it escalates further.




                                                          2/ 2
Office of Attorney General & Civil Rights Unit         Page# 2 of6                                         Exhibit 105
                 Case 1:24-cv-03744-BAH                   Document 16-6             Filed 01/03/25           Page 3 of 84

   Subject: URGENT - Not Hyperbole or a Joke -- Baltimore County Circu it Cou rt - 7 Judges Comprom ised - 15 Judges dere liction of duty -
   50+ days on oldest filing with no action
   From : Ryan Wagner <ryan@m xt3.com >
   To : civilrights@oag.state.md .us,anthony.brown@oag.state.md.us,oag@oag .state.md.us,Carolyn .Quattrocki@oag.state.md .us,Zen ita.Wickham-
   Hurley@oag.state.md .us,Candace.Mclaren-Lanham@oag.state.md.us,doris.lange@oag.state.md .us,Patrick.Sheridan@oag.state .md.us
   Date Sent: Wednesday, October 9, 2024 7:16:46 AM GMT-04:00
   Date Received : Wed nesday, October 9, 2024 7:16:46 AM GMT-04:00
   Attachments : moti on-compel.pdf

   Case Number: C-03-CV-24-002264

        I. Case pending in preliminary stage.
        2. Last ruling September 17, 2024.
        3. Oldest pending : August 20, 2024
       4 . Mil es & Stockbridge is Plai ntiff's law fi rm - 3 Principl es are directly invo lved. Aided Pl aintiff in a fa il ed attempt to
           commit fra ud upon the court. Also violating FMLA leave and ADA
        5. 7 Baltimore County Circuit Court Judges are directly involved in a fra udul ent case that was deficient on day one.
        6. TRO signed and dated for June 17, 2024. Entered stamp is June 14, 2024.
        7. Pro Se Served complaint w ith signed TRO and stamped on the 14th, given to process server on the 14th, served on the
           17th.
        8. Defendant Loses Lawyer before entered and has mental break - PTS D now has catatoni a (a li fe-threatening cond ition)
        9. TRO hearing fo r June 17th. No Hearing Notes. No Transcript. 35 mi nutes notice to invalid email address.
      I 0. Show Cause ordered 5 days before hearing. 2 days' notice. The law firm cited law say ing IO days. The law says 20+
           days after con fere nce-- no confe rence.
      11. Heari ng Judge refuse hearing arguments x4 - 3 of them are a violation of Federal Priorities. The fo urth one was denied
           after "motion fo r continuance because"
      12. Second Show Cause asking for incarcerati on. -- This is a fraudul ent case and the second of the Plaintiff's expert's
           affidav it says they had access and admins the entire ti me --- the clai ms they made were fa lse.
      13. 2nd Pl aintiff's Ex pert says they committed Estoppel and the Pl aintiff s claims are false.
      14. Law firms withdraw show cause after.they are Ex pert shows they already had access .
      15. Premature request for default order. Signed the same day with no testimony.
      16. and so much more .. . to cover up other un lawful and uneth ical conduct. that covers up more. Th is is a coverup
           conspiracy multipl e layers deep and in 7 days I wi ll have been try ing to stop thi s madness and every time one group
           reali zed what I am saying is true. They join the madness fea ring the consequences. Pl ease end this.

   I apolog ize fo r the directness of this message, but I cannot remain si lent any longer. My li fe is at ri sk due to a dangerous and
   li fe-altering situation brought on by the actions of a co-conspi rator. I am on the brink of financ ial ru in, my rep utati on has been
   irreparabl y damaged, and I fee l trapped by thi s case. I urgently need reli ef.

   I need an immediate email and text response. I need to be free d from a case I have effective ly won many times over, yet now
   find myse lf litigating against the actions and inaction of an entire circuit court bench. Pl ease have the offi ce of Anthony Brown
   contact me at once-I need an urgent meeting to di scuss a reso lution.

   lf l defau lt on even a single payment, I am prepared to take every measure necessary to make my voice heard. I will fight
   against this injusti ce, judicial overreach, and become a publi c advocate for due process and ex parte rights . I have experienced
   homelessness as a child, and I refuse to put my family wife, elderl y and di sabled mother, or my disab led bother through that
   now.

   I apologize for the intensity of this message, but I hope it conveys the urgency of my situation. I never asked for thi s, and I
   have done nothing wrong- thi s has been proven beyond any reasonabl e doubt. The conspi racy I face has drawn in an entire
   bench, and I need this to end now, before it escalates fu rther.

                         Name                         Court Number       Defendant Denied 100%

                                                                         Average Ruling: over 3 weeks
                                                                         Plaintiff Granted 100%

                                                                         Average Ruling: less 2 days

                                                                         Evidence Supports: Defendant I 00%

                                                                         Valid Claim for Relief: Defendant


Office of Attorney General & Civil Rights Unit                   Page# 3 of6                                                   Exhibit 105
                 Case 1:24-cv-03744-BAH              Document 16-6            Filed 01/03/25             Page 4 of 84
                                                                   Defendants Claim: Beyond A Reasonable
                                                                   Doubt

                                                                   Plaintiff Evidence: Insufficiently filed
                                                                   lawsuit lacking particularized harm , link to
                                                                   defendant. without explaining contract
                                                                   relevance is supported by--
                                                                   I) Perjured statements
                                                                   2) Incompl ete contract
                                                                   3) Experts affirm the claims are false

                                                                   4) Plaintiff affirms lawsuit is retaliation

                                                                   4) Plaintiff affirms admits having violated
                                                                   FMLA and ADA .


                                                                   dereliction of duty
                         Dennis M. Robinson Jr.   410-887-2250
                                                                   ongoing abstention
                                                                   dereliction of duty
                         Michael J. Finifter      410-887-2642
                                                                   ongoing abstention
                                                                   dereliction of duty
                         Vicki Ballou-Watts       410-887-2690
                                                                   ongoing abstention
                                                                   dereliction of duty
                         Robert E. Cahill,l.r.    410-887-2674
                                                                   ongoing abstention
                                                                   dereliction of duty
                         Judith C. Ensor          410-887-2668
                                                                   ongoing abstention
                                                                   dereliction of duty
                         Sherrie R . Baile)'.     410-887-2630
                                                                   ongoing abstention
                                                                   dereliction of duty
                         John J. N~le III         410-887-4307
                                                                   ongoing abstention
                                                                   Extension 7-8

                         Jan Marshall Alexander   410-887-4849     dereliction of duty

                                                                   ongoing abstention
                                                                   dereliction of duty
                         NancY- M . Purpura       410-887-2693
                                                                   ongoing abstention
                                                                   dereliction of duty
                         Justin J. King           410-887-6531
                                                                   ongoing abstention
                                                                   derel iction of duty
                         Jyli~ L, Qtass           41 Q-88:Z-322Q
                                                                   ongoing abstention
                                                                   dereliction of duty
                         Paul J. Hanle)'.         410-887-4878
                                                                   ongoing abstention
                                                                   dereliction of duty
                         Colleen A. Cavanaugh     410-887-6507
                                                                   ongoing abstention
                         Keith R. Truffer         410-887-6515     Correspondence June 21

                                                                   Show Cause 6-21


Office of Attorney General & Civil Rights Unit              Page# 4 of6                                                 Exhibit 105
                 Case 1:24-cv-03744-BAH                 Document 16-6                Filed 01/03/25                   Page 5 of 84
                                                                      Reconsdier Continuance 7-5

                                                                      dereliction of duty

                                                                      ongoing abstention
                                                                      Request for Default (premature)

                         Andrew M. Battista          410-887-6504     dereliction of duty

                                                                      ongoing abstention
                                                                      Mou on to Vacate SC Order 6-2 I (MOOT-prel11111nary stage )

                         ~    )'.A. May~             41 0-887-65 10   dereliction of duty

                                                                      ongoing abstention
                                                                      dereliction of duty
                         Wendx S. EP-stein           410-887-3650
                                                                      ongoing abstention
                                                                      dereliction of duty
                         Garret P. Glennon           410-887-1810
                                                                      ongoing abstention
                                                                      Show Cause Hearing 6-26 &27

                                                                      Civil Contempt 6-27

                                                                      Preliminary Injunction Hearing 6-26 & 27

                                                                      Preliminary Injunction 6-27

                                                                      Dismiss FMLA Priority 6-26

                                                                      Dismiss ADA Priori!.) 6-26

                         Mi1,; ha!;! S. Barran1,;Q   410-887-2500     Dismiss ITC Priority 6-26

                                                                      Continuance 6-27

                                                                      Show Cause Incarceration 7-8

                                                                      Strike Show Cause 7-24

                                                                      Cancelled Hearing SC#2 8-7 (day/time of)

                                                                      dereliction of duty

                                                                      ongoing abstention
                                                                      TRO Hearing 6-17 (sign order entered stamp 6- 14)

                         Marc A. DeSimone, Jr.       410-887-6840     dereliction of duty

                                                                      ongoing abstention
                                                                      dereliction of duty
                         James L. Rhodes             410-887-1060
                                                                      ongoing abstention
                                                                      dereliction of duty
                         Patricia M. DeMaio          410-887-1416
                                                                      ongoing abstention
                         H. Patrick Stringer         Sen.Judge        Strike URL Referenced Evidence 7-30

                                                                      Strike Exh ibit I B 7-30 (no1mall y valid)

                                                                      Amended URL Strike 8-8



Office of Attorney General & Civil Rights Unit                 Page# 5 of6                                                           Exhibit 105
                 Case 1:24-cv-03744-BAH          Document 16-6        Filed 01/03/25   Page 6 of 84
                                                           Motion to Amend 8-8

                                                           Dismiss 9-17

                                                           dereliction of duty

                                                           ongoing abstention




Office of Attorney General & Civil Rights Unit       Page# 6 of6                                      Exhibit 105
                Case 1:24-cv-03744-BAH             Document 16-6           Filed 01/03/25        Page 7 of 84

   Subject: Re: Third Request for Administrative Hearing - Clerk Preventing Submission for Hearing About the Clerk
   From: Ryan Wagner <ryan@mxt3.com>
   To: Daniel Andrews -OAH- <daniel.andrews@maryland .gov>
   Date Sent: Friday, October 11, 2024 9:08:33 AM GMT-04:00
   Date Received: Friday, October 11 , 2024 9:08 :33 AM GMT-04:00
   Attachments : third-request-admin-hearing.pdf,BCCC Due Process lssues.pdf

   Good Morning Your Honor,


   Attached is the Third Request for an Administrative Judge Hearing that was filed with the Civil Clerk in
   Case No. C-03-CV-24-002264. I have uncovered additional instances of mishandling overnight, which I am
   prepared to present during the hearing, along with any further issues that may arise before then . For your
   reference, I am also attaching my raw notes with supporting screenshots.

   This case, from its initial filing to the present, has been plagued by significant issues involving opposing counsel ,
   seven judges, and the Clerk's Office. If it were not on the public record, the extent of these problems would seem
   unbelievable, and yet I continue to uncover new concerns.

   I appreciate your time and consideration and look forward to the opportunity to address these matters.

   Sincerely,
   Ryan Dillon-Capps

   zy.an @mxt3.com
   703-303-1113 (text)



   On Fri , Oct 11, 2024 at 8: 17 AM Daniel Andrews -OAH- <daniel.andrews@ mazy.land.gov> wrote :
     What is this about?
    Plz send ROA?

      Dan Andrews


       On Oct 11 , 2024, at 4:09 AM, Ryan Wagner <zy.an@ mxt3 .com> wrote :



       Dear Honorable Administrative Judges,


       I hope this message finds you well. I wanted to apologize for any oversight in contacting the Chief Judge
       directly yesterday regarding my request for a hearing. In hindsight, it may not have been the appropriate first
       step, and I sincerely apologize for any confusion or procedural misstep.

       After locating your contact information, I wanted to reach out to correct any potential mistake and request
       your assistance in reviewing the attached materials, which were filed yesterday. I am seeking help to arrange
       a hearing at the earliest opportunity due to several ongoing administrative issues affecting case C-03-CV-24-
       002264.

       I appreciate any support you can provide in addressing these concerns, particularly those within your
       purview. I regret the need to email you directly, but given the unique circumstances and procedural
       difficulties I've encountered, I felt it necessary to seek your assistance.


Office of Administrative Hearings                         Page# 1 of4                                                Exhibit 105
                   Case 1:24-cv-03744-BAH                         Document 16-6                 Filed 01/03/25               Page 8 of 84
       Thank you for your understanding, time, and consideration. J look forward to your response and guidance.


       Many apologies for this email ,
       Ryan Dillon-Capps
       703-303-1113 (text)
       zyan@mxt3.com

       ---------- Forwarded message---------
       From: Ryan Wagner <zyan@mxt3.com>
       Date: Thu, Oct I 0, 2024 at I 0: 19 AM
       Subject: Third Request for Administrative Hearing - Clerk Preventing Submission for Hearing About the
       Clerk
       To: <chung,pak@ma[Y.land.gov>


       Dear Honorable Administrative Judge,

       I hope this email finds you well. Please see the attached Third Request for Administrative Hearing.
       Normally, J would not bypass the Clerk's Office for such a request; however, I believe the Clerk is
       intentionally acting to prevent the hearing from taking place. This is necessary to discuss ongoing concerns
       regarding their application of policies and rules, which J believe have resulted in the improper handling of
       my filings.

       Given the procedural obstacles I've encountered, I respectfully request that you review this matter and
       schedule a hearing at your earliest convenience to ensure fair access to the judicial process.

       Thank you for your time and consideration. I look forward to your response. I am submitting this to the
       clerks and attached the submission, and emailing it directly to you to prevent further delay.

       Many apologies for this email,
       Ryan Dillon-Capps
       703-303-1113
       zyan@mxt3.com
       <th ird-request-adm in-hearing.pdt>
       < 18344663-202410I0-1012-third request-admin-hearing.pdt>


      CONFIDENTIALITY NOTICE: This e-mail may contain confidential or privileged information. If you have received this e-mail in error, please notify the sender
      immediately by return e-mail, delete this e-mail and
      destroy any copies.




Office of Administrative Hearings                                          Page# 2 of4                                                             Exhibit 105
                 Case 1:24-cv-03744-BAH             Document 16-6           Filed 01/03/25        Page 9 of 84


   Subject: Re : Third Request for Administrative Hearing - Clerk Preventing Submission for Hearing About the Clerk
   From : Chung Pak -OAH- <chung .pak@maryland.gov>
   To: ryan@mxt3.com
   Date Sent: Friday, October 11, 2024 10:44:30 AM GMT-04:00
   Date Received : Friday, October 11 , 202410:44:41 AM GMT-04:00

   Good Morning Mr. Dillion-Capps,

   I am in receipt of your email. I am the Chief Administrative Law Judge of the Office of
   Administrative Hearings (OAH), which is not part of the Circuit Court for Baltimore
   County. Please be advised that neither I nor the Administrative Law Judges of the
   OAH have authority to take action with respect to any proceeding you have pending in the
   Circuit Court for Baltimore County, and I have no authority over the Clerk's Office of the
   Circuit Court for Baltimore County. The Administrative Judge for the Circuit Court of
   Baltimore County is the Honorable Dennis M. Robinson. You may want to redirect your
   email to that Court.

   Regards,

   Chung K. Pak
   Chief Administrative Law Judge
   Maryland Office of Administrative Hearings



   On Thu, Oct 10, 2024 at 10: l 9AM Ryan Wagner <fY.an @ mxt3.com> wrote:

      Dear Honorable Administrative Judge,

      I hope this email finds you well. Please see the attached Third Request for Administrative Hearing.
      Normally, I would not bypass the Clerk's Office for such a request; however, I believe the Clerk is
      intentionally acting to prevent the hearing from taking place. This is necessary to discuss ongoing concerns
      regarding their application of policies and rules, which I believe have resulted in the improper handling of my
      filings.

      Given the procedural obstacles I've encountered, I respectfully request that you review this matter and
      schedule a hearing at your earliest convenience to ensure fair access to the judicial process .

      Thank you for your time and consideration. I look forward to your response. I am submitting this to the clerks
      and attached the submission, and emailing it directly to you to prevent further delay.

      Many apologies for this email ,
      Ryan Dillon-Capps
      703-303-1113
      f)'.an @mxt3.com



   Chung K. Pak
   Chief Administrative Law Judge
   Office of Adm ini strative Hearings
   11101 Gilroy Road

Office of Administrative Hearings                          Page# 3 of4                                                Exhibit 105
                Case 1:24-cv-03744-BAH                   Document 16-6             Filed 01/03/25           Page 10 of 84


   Subject: RE : Third Request for Administrative Hearing - Clerk Preventing Submission for Hearing About the Clerk
   From : Administrative Hearings <administrativehearings@baltimorecountymd .gov>
   To: "ryan@mxt3.com" <ryan@mxt3.com> ,Administrative Hearings <administrativehearings@baltimorecountymd .gov>
   Date Sent: Thursday, October 10, 2024 10:14:21 AM GMT-04:00
   Date Received : Thursday, October 10, 2024 10:14:26 AM GMT-04 :00

   Good Morning,
   We do not hear these cases. You will need to reach out to the Circuit Court for Baltimore County or the State of M aryland
   Office of Administrative Hearings.

   Our office handles, Zoning and Development Hearings. Thank you .

    Have a good day.



   Office of Administrative Hearings for Baltimore County
   Jefferson Building
   105 West Chesapeake Avenue , Suite 103
   Towson , MD 21204
   410-887-3868 - press O
   administrativehearings@baltimorecountv.md.gov




   From: Ryan Wagner <ryan@mxt3.com>
   Sent: Thursday, October 10, 2024 10:11 AM
   To: Administrative Hearings <administrativehearings@baltimorecountymd.gov>
   Subject: Third Request for Administrative Hearing - Clerk Preventing Submission for Hearing About the Clerk

    CAUTION: This message from IYE@mxt3.com originated from a non Baltimore County Government or non BCPL email system.
    Hover over any links before clicking and use caution opening attachments. Do not click on any link and fill any request asking for your
    username and password at any time. BCG OIT will never ask for your usemame and password over email. Use the "Phish Alert
    Report" button to report.



    Dear Honorable Administrative Judges,

   I hope thi s email find s you we ll. Please see th e attached Third Request for Administrative Hearing. Norma lly, I
   wo uld not bypass the Clerk' s Office fo r such a request; however, I believe the C lerk is intentionall y acting to
   prevent the hearing from takin g place. Thi s is necessary to di scuss ongo ing co ncern s regardin g their app lication
   of polic ies and rules, whi ch I believe have resulted in th e impro per handlin g of my fi li ngs.

   Given th e procedural obstac les I've encountered, I respectfull y request that you rev iew thi s matter and sched ul e a
   hearing at your earliest convenience to ensure fa ir access to th e j udicial process.

    Thank you fo r your time and co nsideration. I loo k fo rward to your response.

   Many apologies for this email ,
   Ryan Dillon-Capps
   703-303-1113
   r v.an@mxt3.com

    CONNECT WITH BALTIMORE COUNTY




Office of Administrative Hearings                                Page# 4 of4                                                    Exhibit 105
                Case 1:24-cv-03744-BAH           Document 16-6            Filed 01/03/25   Page 11 of 84


   Subject: Your incident INC0820376 has been resolved
   From : Judicial Information Systems <mdcourts@service-now.com>
   To : ryan@mxt3.com
   Date Sent: Wednesday, October 30, 2024 11 :31 :44 AM GMT-04 :00
   Date Received : Wednesday, October 30 , 2024 11 :31 :45 AM GMT-04:00



    INC0820376 - Fwd: SECOND ATTEMPT: FW:
    [EXTERNAL] Ruling Opinions for C-03-CV-24-
    002264
    Your incident has been resolved.
   The incident will automatically close in 72.0 hours

    Summary details

    Resolved notes: Caller confirmed he can view all documents in the case file. Caller feels there are
    documents in the case file that aren't there, including opinions. Caller feels opposing counsel may
    have access to additional documents, but I explained that he and opposing counsel have the same
    level of access. Referred Caller to clerk's office.



    If you feel the issue is not resolved , please send an email to JIS Customer Services.

    Thank you .


    Unsubscnbe I Not1ficat1on Preferences

    Ref:MSG I 0152218




JIS & Clerk's                                           Page# l of 13                                      Exhibit 105
                Case 1:24-cv-03744-BAH            Document 16-6          Filed 01/03/25       Page 12 of 84


   Subject: Re : Your incident INC0820376 has been resolved
   From : Ryan Wagner <ryan@mxt3.com>
   To: Judicial Information Systems <mdcourts@service-now.com>              Geno Frazier became an active participant
   Date Sent: Wednesday, October 30, 2024 11 :42:16 AM GMT-04 :00           when they used the ticketing system and
   Date Received: Wednesday, October 30, 2024 11 :42: 16 AM GMT-04:00       applied the shared language of the
                                                                            conspirators
   for documentation purposes

   Cal ler, Dillon-Capps, states as follows:
   I) If what I see is the entire court record then things I have filed are missing from the court record.
   2) If what I see is the entire court record then things I have obtained from the process server on what was served
   to me is different than what is on the court record
   3) if what I see is the entire court record then hearing notes, transcripts, that should be part of the court record are
   missing
   4) if what I see is the entire court record then the the release of exh ibits on July 25 , 2024 is missing the item that
   was released because my view only has a record of it occuring not what it is

   these are a few items that are discrepencies in what I know is incorrect, and if the stuff I am providing to the
   court is not being admitted to the court record then I don't know why I am filing things in the nether. No wonder
   the record reflects as it does. a ll of the evidence, transscripts, hearing notes, ruling opinions, origional
   documents, and more are all missing from the record.

   The Plaintiff is withdrawing and I have won -- yet the end result is a win for them because they already did the
   harm and this whole time the evidence hasn't been part of the court record.



   On Wed, Oct 30, 2024 at 11 :31 AM Judicial Information Systems <mdcourts@service-now.com> wrote:


      INC0820376 - Fwd: SECOND ATTEMPT: FW:
      [EXTERNAL] Ruling Opinions for C-03-CV-24-
      002264
      Your incident has been resolved.                                  Geno Frazier became an active participant when
                                                                        they used the ticketing system and applied the
      The incident will automatically close in 72.0 hours               shared language of the conspirators. At no point
                                                                        was there any confusion about the opposite was
                                                                        being said .
      Summary details
      Resolved notes: Caller confirmed he can view all documents in the case file. Caller feels there are
      documents in the case file that aren't there, including opinions. Caller feels opposing counsel may
      have access to additional documents, but I explained that he and opposing counsel have the same
      level of access. Referred Caller to clerk's office.



      If you feel the issue is not resolved , please send an email to JIS Customer Services.

      Thank you.



JIS & Clerk's                                           Page# 2 of 13                                           Exhibit 105
                 Case 1:24-cv-03744-BAH           Document 16-6         Filed 01/03/25        Page 13 of 84

   Subject: RE : [EXTERNAL] Re : June 27 , 2024 Contempt Heari ng Notice - Ohana Growth Partners, LLC v. Ryan Dillon-Capps,
   C-03-CV-24-2264
   From : BaltCo Digital Recording <baltcodigrec@mdcourts.gov>
   To: "ryan@mxt3 .com" <ryan@mxt3 .com>
   Date Sent: Thursday, June 27, 2024 7:33:19 AM GMT-04 :00
   Date Received : Thursday, June 27 , 2024 7:33:23 AM GMT-04 :00

   Good Morning Mr. Wagner.

   Digital Recording can provide a copy of the transcript for you .
   You can make your online request at www.baltimorecountymd .gov/transcriRtS

   Once our office receives your request we will assign it to a transcriber. They will provide the estimate
   and delivery guidelines.

   The other option you have to is to request an audio link. A link can emailed directly to you , normally
   within 24 hours.
   You can use the same website to order your audio link.

   The cost of an audio link is $25.00. We will send you the information on how to pay for the link once
   we receive an official request from you.

   The cost of a transcript can vary. Your trial was 79 minutes long , a very rough starting estimate would
   be around $300.00. The transcriber would give you a final estimate before she begins typing your
   transcript. The transcriber may also ask for a deposit to begin preparing your transcript.

   If you have any question , please feel free to email us.



   Sharon L. Elligson
   Digital Recording Office
   The Circuit Court of Baltimore County
   401 Bosley Avenue
   Room 403
   Towson , Maryland 21204
   410-887-4873




   From: Rachel Kiefer <rachel.kiefer @mdcourts.gov>
   Sent: Wednesday, June 26, 2024 3:09 PM
   To: BaltCo Digital Recording <baltcodigrec @mdcourts.gov>
   Cc: Fallyn Allman <Fallyn .Allman @mdcourts.gov>
   Subject: FW: [EXTERNAL] Re: June 27, 2024 Contempt Hearing Notice - Ohana Growth Partners, LLC v. Ryan Dillon-Capps,
   C-03-CV-24-2264

   Good afternoon ,

   Will you kindly respond to the below email ?

   Thank you !

                           Rachel Kiefer

ns & Clerk's                                            Page# 3 of 13                                           Exhibit 105
                  Case 1:24-cv-03744-BAH             Document 16-6           Filed 01/03/25         Page 14 of 84
                            Law Clerk to the Honorable Michael S. Barranco
                            Circuit Court for Baltimore County
                            40 I Bosley Avenue
                            Towson, MD 21204
                            410-887-2500 (Office)
                            410-296-1324 (Fax)
                            rachel.kiefer@mdcourts.gov



   From: Ryan Wagner <rv.an@mxt3.com >
   Sent: Wednesday, June 26, 2024 3:08 PM
   To: Fallyn Allman <Fallv.n.Allman@mdcourts.gov>
   Cc: rbrennen@milesstockbridge.com ; Rachel Kiefer <rachel.kiefer@mdcourts .gov>
   Subject: [EXTERNAL) Re: June 27, 2024 Contempt Hearing Notice - Ohana Growth Partners, LLC v. Ryan Dillon-Capps, C-03-
   CV-24-2264

                                                    !ADA Accomodation
   Dear Rachel Kiefer,

   I am writing to request a transcript of the June 26, 2024, hearing in Ohana Growth Partners, LLC v Ryan Dillon-Capps, Case
   No. C-03-CV-24-002264. Judge Michael S. Barranco presided over this hearing. I understand that we left there only a few
   hours ago, but I struggle to remember everything said. I think I tried to explain this in court , but my ability to advocate for
   myself is limited in high-conflict "live" interactions. It would be of tremendous help if I get a copy of the transcript so I
   have something to reference regarding what was said . I will gladly pay the fee, but I don't have an attorney because mine
   went on bereavement and then had a prescheduled conference , so they returned all the money paid . I know how hard it
   is to lose a family member, but it has left me without representation. I found out this week that the letter I wrote last
   week to request the opportunity to obtain counsel was denied. Leaving me unsure as to the proper procedure for
   obtaining the transcript. I am really sorry to burden you, but this was the first hearing that I had advanced notice of, and
   even while I write this email , I feel like I can recall less and less of what happened . Any assistance on how to obtain the
   transcript would be very helpful.

   With gratitude and appreciation,
   Ryan Dillon-Capps
   1334 Maple Ave
   Essex MD 21221
   rv.an@mxt3.com
   703-303-1113
   I strongly prefer text or email

    On Wed, Jun 26, 2024 at 11:15 AM Fallyn Allman <£E.llv.n.Allman@mdcourts.gov> wrote:
      Dear All:

      Attached please find a copy of the hearing notice in the above captioned matter. This is scheduled for a Contempt
      Hearing tomorrow, June 2ih, 2024 at 1:00 p.m. before Judge Barranco in Courtroom 8. Please let us know who , if any,
      parties are requesting to attend this hearing remotely so our chambers can send out the zoom invitation for this
      hearing.

      This email is for scheduling purposes only.

      Thank you,



                               Fallyn L. Allman,


JIS & Clerk's                                               Page# 4 of 13                                              Exhibit 105
                 Case 1:24-cv-03744-BAH             Document 16-6          Filed 01/03/25        Page 15 of 84


   Subject: Re : [EXTERNAL) Re : Your Incident INC0820376 has comments added
   From : Ryan Wagner <ryan@mxt3.com>
   To: Eleanor Fisher <eleanor.fisher@mdcourts.gov>
   Date Sent: Wednesday, October 30, 2024 3:41 :58 PM GMT-04:00
   Date Received : Wednesday, October 30, 2024 3:41 :58 PM GMT-04:00

   That is not realistic. I manage my agoraphobia fairly well , but going into the courthouse everyday and trying to
   work from there will be more than I can manage on a regular basis.

   I have already won the lawsuit, pending a few loose ends to prevent further abuse of process.

    What I need is access to the court record, all of it remotely. Are you saying remote access is an unreasonable
    burden for the courthouse? I don't understand why I can't have access? It seems like a reasonable request?

   I can't even see everything I have submitted, or a large portion of things I have filed are not on the court record .
   My concern is that Judges are adjudicating without the supporting evidence, and the ruling record reflects that as
   a possibility. Not many ways to explain the ruling record in a lawsuit where the plaintiff has no factual and
   truthful basis for any of their material statements or claims.

   Do I have an option 2 that is't going to cost me anything or require me to be physically at the courthouse all day
   every day. Normally I would just pay the cost, but five months of the fraudulent lawsuit has resulted in me going
   into financial default and I don't have it.

   Respectfully,            !There is no reason that something should be available only in person!
   RDC

   On Wed, Oct 30, 2024 at 2:49PM Eleanor Fisher <eleanor.fisher@mdcourts.gov> wrote:

      Good afternoon Ryan,



      Hope you ' re well. I've spoken with my supervisor regarding your situation , and he recommends coming in
      person to the Law Library in the Circuit Court. There are free legal resources including paralegals and
      computers you can use to verify your case documents.



      Thank you,




      Eleanor Fisher
      Senior Records Assistant

      Judicial Records

      Baltimore County Circuit Court

      Clerk 's Office

      40 I Bosley Ave.



JIS & Clerk's                                              Page# 5 of 13                                         Exhibit 105
                Case 1:24-cv-03744-BAH           Document 16-6         Filed 01/03/25      Page 16 of 84
      Towson, MD 21204

      410-887-3494

      eleanor.fisher@mdcourts.gov

      she/her




      From: Ryan Wagner <fY.an @mxt3 .com>
      Sent: Wednesday, October 30, 2024 11 :31 AM
      To: Eleanor Fisher <eleanor.fisher@mdcourts.gov>
      Subject: [EXTERNAL] Re: Your Incident JNC0820376 has comments added



      Good Morning Eleanor Fisher,

      I have a bit of a quandry.

      Geno Frazier is telling me that I have everything in the court record to view. However, if that is true then I
      don't know where all of the things I am uploading is going, and why isn't there records of ruling opinions, no
      hearing notes from june 17th, why do I have copies of things that I got from a 3rd party that are different then
      the version in the court record?

      Any ideas on how to address these issues because Geno Frazier tellin g me that I can see the entire court record
      is akin to telling me that the court record is incorrect in many ways .



      thoughts on a solution?



      On Tue, Oct 29, 2024 at 9:37 AM Judicial Information Systems <mdcourts@service-now.com> wrote:


         INC0820376 - Fwd: SECOND ATTEMPT: FW:
         [EXTERNAL] Ruling Opinions for C-03-CV-24-
         002264
         Comments:


         2024-10-29 09:36:34 AM EDT - Geno Frazier (eugene.frazier) Additional Comments




JIS & Clerk's                                          Page# 6 of 13                                         Exhibit 105
                 Case 1:24-cv-03744-BAH      Document 16-6         Filed 01/03/25   Page 17 of 84
         Ryan,

         I'm with the Maryland Judiciary. I can't find a phone number for you. Please call me at 443-709-
         8320 so we can make sure you have the access you're entitled to with this case.

         Geno Frazier
         JIS Application Support.


         2024-10-28 12:34:23 PM EDT - Ryan Wagner (RyanWagner) Additional Comments

         forwarded by: ryan@mxt3.com

         Please see my previous email.

         Any idea what the issue is? what would it take to have equal access?

         ---------- Forwarded message ---------
         From: Ryan Wagner <ryan@mxt3.com >
         Date: Mon, Oct 28, 2024, 12:31 PM
         Subject: Re: SECOND ATTEMPT: FW: [EXTERNAL] Ruling Opinions for
         C-03-CV-24-002264
         To: Eleanor Fisher <eleanor.fisher@mdcourts.gov>


         That is not the true at all. I would be happy to send you the
         index,screenshots, or share a teams call to show you what I see. However,
         I am missing items.

         I have no ruling opinions.
         I have no hearing sheet or transcript for june 17th.
         I can not see most of the exhibits I have submitted.
         There is a mention of an exhibit being released but I dont see it or know
         what it is or was.
         Some of the records are misleading, like the proposed order for the TRO is
         the signed pre entered, so it looks like the TRO was signed prematurely.
         Those are a few examples. If I am supposed to have the same record as the
         Plaintiff-- I do not
         I have won the case on guess work, but if I could get equal access. That
         would be fantastic and much appreciated .

         RDC

         On Mon, Oct 28, 2024, 12:05 PM Eleanor Fisher <eleanor.fisher@mdcourts.gov>
         wrote:

         > Good morning Ryan,
         >
         >
         >
         > Thank you for your response. If you would like every order so far in case
         > no. C-03-CV-24-002264, I have attached an invoice to that end. The total
         > would be $164.00 for 328 pages, and I would be able to email the documents
         > to you after payment.

JIS & Clerk's                                      Page# 7 of 13                                    Exhibit 105
                Case 1:24-cv-03744-BAH     Document 16-6         Filed 01/03/25   Page 18 of 84
         >
         >
         >
         > However, after speaking with my leadership, it appears you are a
         > registered e-Filer with full case access via MDEC. You should already be
         > able to log into your MDEC portal and view the complete case, including
         > every order, the same as the opposing party can. If you are having trouble
         > with your MDEC access, you may want to reach out to Judicial Information
         > Systems which manages the program. Their email is mdcourts@service-now.com
         > and their phone number is 410-260-1114.
         >
         >
         >
         > Please let me know how you would like to proceed.
         >
         >
         >
         > Thank you,
         >
         >
         >
         >
         >
         > <httRs:l/www.google.com/maRs/search/401 +Bosley+Ave.+%0D%0A+ Towson ,+MD+21204?
         entry..=gmail&source=g>
         >
         > *Eleanor Fisher*
         >
         > Senior Records Assistant
         >
         > Judicial Records
         >
         > Baltimore County Circuit Court
         >
         > Clerk's Office
         >
         > 401 Bosley Ave.
         > <httRs:l/www.google.com/maRs/search/401+Bosley+Ave.+%0D%0A+Towson,+MD+21204?
         entry..=g mai l&sou rce=g >
         >
         > Towson, MD 21204
         > <httRs://www.google.com/maRs/search/401 +Bosley+Ave.+%0D%0A+ Towson ,+MD+21204?
         entry..=gmail&source=g>
         >
         > 410-887-3494
         >
         > eleanor.fisher@mdcourts.gov
         >
         > *she/her*
         >
         >
         >
         > *From:* Ryan Wagner <ryan@mxt3.com>
         > *Sent:* Monday, October 28, 2024 10:43 AM

JIS & Clerk's                                    Page# 8 of 13                                    Exhibit 105
                Case 1:24-cv-03744-BAH        Document 16-6         Filed 01/03/25   Page 19 of 84
         > *To:* Eleanor Fisher <eleanor.fisher@mdcourts.gov>
         > *Cc:* CC - Baltimore County Clerk Records Leads <
         > ccbaltcoclerkrecordsleads@mdcourts.gov>
         > *Subject:* Re: SECOND ATTEMPT: FW: [EXTERNAL] Ruling Opinions for
         > C-03-CV-24-002264
         >
         >
         >
         > Thank you for following up - the answer is all of them. You have no idea
         > how limiting it is to have no idea why things are ruled the way they are.
         > Particularly in this case.
         >
         > I need them digitally, is that possible? Is there a way for me to get
         > equal access to the same records as the opposing party does?
         >
         > Thank you,
         >
         > RDC
         >
         >
         >
         > On Mon, Oct 28, 2024 at 10:36AM Eleanor Fisher<
         > eleanor.fisher@mdcourts.gov> wrote:
         >
         > Good morning Ryan,
         >
         >
         >
         > Hope you're well. This is my second attempt to reach you regarding this
         > request.
         >
         >
         >
         > As I mentioned last week, your case is quite large and to date there are
         > 27 signed orders in it. The case is still open and ongoing, so there are no
         > final opinions at this time. If you could clarify which orders you are
         > requesting, it would be appreciated . You can use Maryland Judiciary Case
         > Search <httRs://casesearch.courts.state.md .us/casesearch/> to identify
         > the case events you need documents from. I would be happy to provide you
         > with whatever documents you specify at $0.50 per page.
         >
         >
         >
         > Alternatively, you are welcome to come in person to the Circuit Court and
         > view your complete case documents on our kiosks or in the Law Library and
         > print your documents that way.
         >
         >
         >
         > Thank you,
         >
         >
         >
         >

JIS & Clerk's                                       Page# 9 of 13                                    Exhibit 105
               Case 1:24-cv-03744-BAH   Document 16-6        Filed 01/03/25   Page 20 of 84
        >
        > <httRs:l/www.google.com/maP-s/search/401 +Bosley+Ave.+%0D%0A+ Towson ,+MD+21204?
        entry..=gmail&source=g>
        >
        > *Eleanor Fisher*
        >
        > Senior Records Assistant
        >
        > Judicial Records
        >
        > Baltimore County Circuit Court
        >
        > Clerk's Office
        >
        > 401 Bosley Ave.
        > <httRs:l/www.google.com/maP-s/search/401 +Bosley+Ave. +%0D%0A+ Towson ,+MD+21204?
        entry..=gmail&source=g>
        >
        > Towson, MD 21204
        > <httP-s://www.google.com/maP-slsearch/401 +Bosley+Ave.+%0D%0A+ Towson ,+MD+21204?
        entry..=gmail&source=g>
        >
        > 410-887-3494
        >
        > eleanor.fisher@mdcourts.gov
        >
        > *she/her*
        >
        >
        >
        > *From:* Eleanor Fisher
        > *Sent:* Thursday, October 24, 2024 2:24 PM
        > *To:* Ryan Wagner <ryan@mxt3.com >
        > *Cc:* CC - Baltimore County Clerk Records Leads <
        > ccbaltcoclerkrecordsleads@mdcourts.gov>
        > *Subject:* FOLLOW UP: FW: [EXTERNAL] Ruling Opinions for C-03-CV-24-002264
        >
        >
        >
        > Good afternoon Ryan ,
        >
        >
        >
        > Hope you're well. I have located your case and have some follow up
        > questions.
        >
        >
        >
        > As your case is quite large, there are a number of orders that could be
        > provided to you. Can you clarify what dates or events in your case you're
        > requesting orders from? You can use Maryland Judiciary Case Search
        > <httP-s://casesearch.courts.state.md.us/casesearch/> to identify the case
        > events you need documents from. I would be happy to provide you with
        > whatever documents you specify at $0.50 per page.

ns & Clerk's                                Page# 10 of 13                                    Exhibit 105
                Case 1:24-cv-03744-BAH        Document 16-6          Filed 01/03/25   Page 21 of 84
         >
         >
         >
         > Alternatively, you are welcome to come in person to the Circuit Court and
         > view your complete case documents on our kiosks or in the Law Library and
         > print your documents that way.
         >
         >
         >
         > Thank you,
         >
         >
         >
         >
         >
         > *Eleanor Fisher*
         >
         > <httP-s:l/www.google.com/maP-s/search/401 +Bosley+Ave.+%0O%0A+ Towson ,+MD+21204?
         entry..=gmail&source=g>
         >
         > Senior Records Assistant
         >
         > Judicial Records
         >
         > Baltimore County Circuit Court
         >
         > Clerk's Office
         >
         > 401 Bosley Ave.
         > <httP-s://www.google.com/maP-s/search/401 +Bosley+Ave.+%0O%0A+ Towson ,+MD+21204?
         entry..=gmail&source=g>
         >
         > Towson, MD 21204
         > <httP-s://www.google.com/maP-slsearch/401 +Bosley+Ave.+%0O%0A+ Towson ,+MD+21204?
         entry..=g mai l&sou rce=g >
         >
         > 410-887-3494
         >
         > eleanor.fisher@mdcourts.gov
         >
         > *she/her*
         >
         >
         >
         > *From:* Ryan Wagner <ryan@mxt3.com >
         > *Sent:* Wednesday, October 23, 2024 12:57 PM
         > *To:* BaltCo Circuit Court <baltcocc@mdcourts.gov>
         > *Subject:* [EXTERNAL] Ruling Opinions for C-03-CV-24-002264
         >
         >
         >
         > Greetings and Salutations,
         >
         > I hope this message finds you well. I am writing to request the ruling

JIS & Clerk's                                      Page # 11 of 13                                    Exhibit 105
               Case 1:24-cv-03744-BAH            Document 16-6        Filed 01/03/25   Page 22 of 84
        > opinions for the case referenced above: *Case No. C-03-CV-24-002264*.
        >
        > I have been attempting to obtain these documents for some time and would
        > greatly appreciate your assistance in facilitating this request. While I
        > understand that your office is busy, I trust your judgment in determining
        > an appropriate and reasonable timeframe for the satisfaction of this
        > request.
        >
        > My personal impact has been significant, as I have been forced to rely on
        > guesswork to determine the rulings without access to this information. I am
        > currently at an impasse where my ability to proceed is limited by my access
        > to the ruling opinions in this case.
        >
        > Please let me know if there are any fees associated with this request, and
        > I will be happy to arrange payment. Thank you for your time and assistance.
        > I look forward to hearing from you at your earliest convenience.
        >
        > With much appreciation and gratitude,
        >
        > RDC
        >
        >

        You can view all the details of the incident by following the link below:

         Take me to the Incident

        Thank you.



        Unsubscribe I Notification Preferences



        Ref:MSG I 0142666




ns & Clerk's                                         Page# 12 of 13                                    Exhibit 105
            Case 1:24-cv-03744-BAH             Document 16-6             Filed 01/03/25            Page 23 of 84
                                           JUDICIAL RECORDS INVOICE

  From : Baltimore County Clerk of the Circuit Court
         Judicial Records
         PO Box 6754
         Towson MD 21285-6754

  Date :   110/28/24
                                      lc_-_0_3_-_C_V_-_2_4_-_0_0_2_2_6_4_______________.
  Re (Case Number if applicable): .....

  Case Name: lohana Growth Partners, LLC vs. Ryan Dillon-Capps

  Documents Requested:      lall signed orders (27 in total)


  Your request is priced as follows:

  PAYMENT:
  I ✓ I Cost per copy page is $0.50 per page             J 328           Ix$ 0.50       = $1        164.00     h
           I Cost per certification is $5.00             J               Ix$ 5.00       = $1         0.00       I)

           I Cost per Exemplification is $10.00          J               lx$10.00       =$     I     0.00      I)
                                                         TOTAL DUE                      = $1         164.00          I
  PAYMENT OPTIONS:
  Include a copy of this invoice with your mailed payment and mail to address above.
  Payable to: Clerk of the Circuit Court
         • Money Order
         • Check that includes:
             o Your name, current address and imprinted account number
             o Not accepted: Out-of-state personal check or Two-Party check
         • SAME-DAY PROCESSING:
             o We accept VISA, MasterCard, or Discover Credit Card Payment by telephone.
                 To pay using this option, dial 410-887-3494

  ADDITIONAL INFORMATION:

       ✓ I Your Full Name IRyan Dillon-Capps
  .___                           I
           _,I Your Full Address Email request
                                 "=====::::::::::::=====================================.
  .___     _,I Your Telephone Number
                                        '--------------;::::=========::..,
  .__      _.I Last 4 digits ONLY of your Credit Card Number if applicable..__ _ _ _ _ _ _ _ ____,


                                                                                E_F___________.
                                                  PER (Employee ' s lnitials): I.....
                                                                                    Judicial Records (410) 887-3494


  Rev. 10/25/21

IlS & Clerk's                                          Page # 13 of 13                                        Exhibit 105
              Case 1:24-cv-03744-BAH              Document 16-6           Filed 01/03/25       Page 24 of 84


   Subject: Re: FWD to Judges: DeSimone, Truffer, Barranco, Alexander, Stringer, Mayer, Battista
   From: Ryan Wagner <ryan@mxt3.com>
   To: mdmanual@maryland .gov
   Date Sent: Monday, October 7, 2024 8:00:00 AM GMT-04:00
   Date Received: Monday, October 7, 2024 8:00:00 AM GMT-04:00

   Happy Monday Everyone,


   First, I want to clarify that I am sending this message here in case this unprecedented situation requires
   additional steps before I can open formal negotiations to avoid litigation. I am taking this action both because I
   wish to resolve this matter, and because the law requires me to attempt negotiation before filing . If another judge
   or representative of the court-or the state of Maryland-wants to intervene, I welcome it. I just need someone
   to step up and negotiate on behalf of those they represent.

   As a secondary measure, both this email and any other correspondence will be included in filings and in a way, I
   argue that this email address represents a buffer to establish contact and follow a procedural process that
   hopefully navigates the expansive and anomalous conditions. Good Faith as I will likely be stating in excess
   about everything.

   Urgency and Context:

   While my financial situation will be addressed in upcoming filings, that's not my immediate concern. I have
   been managing PTSD, and in a week, it will have been one year. During this time, I have repeatedly faced
   attempts to use estoppel against me, and this has been extremely challenging. While I understand there are likely
   normal reasons for delays, I am struggling mentally as my condition has worsened-specifically my symptoms
   of catatonia.

   I am at a critical point mentally, and though I am doing everything in my power to stay aware and manage my
   symptoms, it is becoming harder every day. I urge someone from the court to please provide an update as soon as
   possible. The uncertainty is worsening my condition, and I fear that without clarity, I may have to escalate this
   situation, which I wish to avoid.

   Human to human, I ask for confirmation of what has delayed action for nearly 50 days since the opposition was
   filed. Please reassure me that these delays are explainable, and I do not need to take more drastic steps to
   free myself form this dangerous situation. My restraint thus far has been an effort to reduce harm, but the
   situation has caused nothing but harm to anything and everything it touches. I have been the point of impact for
   this farm far too long.

   Litigation Analysis: A Reflection on Judge Barranco's Meticulousness

   In this context, I will provide a brief analysis of Judge Michael Barranco's litigation style to illustrate my
   preparedness for negotiation.

   Judge Barranco's prior work reflects his meticulous attention to detail and hi s incredible success in the
   courtroom. With a career built on commercial litigation, products liability, and banking disputes, his
   technical acumen is second to none. His ability to quickly identify weaknesses in a plaintiff's case has been
   well-documented. I distinctly recall how, on June 26th , he immediately tore into the procedural weaknesses of
   the case, commenting on the timing issues within seconds of reviewing the docket. That brilliance was on full
   display. It is precisely this level of detail that makes him such a formidable presence in court.




MD Manual General Mailbox                                 Page# 1 of3                                          Exhibit 105
              Case 1:24-cv-03744-BAH             Document 16-6          Filed 01/03/25        Page 25 of 84
   However, it is his own success and proficiency that will be my opening gambit. Judge Barranco's past
   achievements in dismantling cases quickly and efficiently will now form the very foundation to which I give him
   an opportunity to demonstrate his defensive excellence. I have already mapped out dozens upon dozen s of
   responses to each potential argument he may raise, preparing for every permutation possible. In fact, using A I
   technology, I am currently tracking over 512,000 different permutations of potential choices in this litigation ,
   allowing me to act with foresight to guide the case toward my intended outcome.

   Inspired by the FBl's litigation investigation strategies, I have adopted the mindset that the result is the only
   thing that matters. Every step, motion, or defense along the way is merely part of the strategy to get to that
   final point. I believe this understanding will be critical in facing a judge of Barranco 's caliber, whose past work
   sets the standard by which this case will be judged.


   A cry help and a sincere desire to avoid conflict,
   Ryan Dillon-Capps

   !)'.an@mxt3.com

   703-303-1113 (text only please)


   On Sat, Oct 5, 2024 at 9:41 PM Ryan Wagner <[Y.an @mxt3 .com> wrote:
    Greetings, this email is directed to the following Judges.
    Marc A DeSimone Jr.
    Keith R Truffer
    Michael Barranco
    Jan Marshall Alexander
    H Patrick Stringer
    Stacey A Mayer
    Andrew Battista


     Notice to the Court has been provided in the Notice for Hypothesis of Crayons that before Monday at
     Midnight I intend to file the Motion to Compel Joinder. I don't want to, and I really want to resolve this one
     on one with each of you. This will be filed with the official complaint. I am requesting an opportunity to
     resolve. Please do not let the proceedings mislead you because what the context left out is that I am in this
     mess because I didn't want this to go to court -- not me vs them , but anyone vs Ohana.

     Battista, Alexander, and DeSimone - a simple misunderstanding that in the confusion of it all happened once.
     I am serious, the other context left out is that I kept at it because of 1500 employees and 2 of those employees
     and the entire company were on the chopping block. A person lives and commits a large portion of that time
     to the service to the public, one mistake does not make that service less valuable.

     Particularly in the case of Judge Stringer. Please tell me you did this because you know who Glenn Norris is
     and the hall of fame isn't that big of a place. I can respect support for that, or just help it out. The last thing I
     want is anything to change the career you already did and I found lots of attorneys who had great things to say
     about, and I think I can be one of those who argues that in the fog of war the court record is left to some notes
     and what time you had late at night. Why would you have any reason to pull all that other evidence why the
     court record shows a clear story and if this was any stage other than preliminary -- I could add the argument
     that the court record is fact and you ruled on the facts of the case. Minor oversight that this was still in the
     preliminary stage.




MD Manual General Mailbox                               Page# 2 of3                                            Exhibit 105
              Case 1:24-cv-03744-BAH            Document 16-6         Filed 01/03/25       Page 26 of 84
     This is genuine, I am serious. 1 really do not want to add a circuit court judge on Monday. lf you want me to
     talk to your attorney then give them my email please and I will make myself available and if there is genuine
     effort here I will stall the filling.

     There are few lawyers who I would back down from , and this is not an expression of doubting my resolve or
     capacity. Even at I /3rd, and it will get better, I have the advantage here because I can review your rulings and
     previous litigation. Brennen was weakest in preliminary and if pushed past, I would have turned to tort law
     and stopped his procedural hoopla. I am not an over zealous law and order fan , and my definicts have been
     because I literally had to file something and 1 couldn't find my hand let alone where I had last saved my work.

     It is crazy to think that come Monday night, 1 don't have an unresolved issue with any one on this email ?

     Humbled and Hoping,
     Ryan Dillon-Capps
     I)'.an@ mxt3 .com
     703-303-1113 (text only please)




MD Manual General Mailbox                              Page# 3 of3                                          Exhibit 105
•      •                       Case 1:24-cv-03744-BAH                                                 Document 16-6                                 Filed 01/03/25                            Page 27 of 84

       Subject: RE: [EXTERNAL) Ohana Growth Partners, LLC v. Ryan Dillon-Capps - C-03-CV-24-2 264
       From : Lauren Prinkey <Lauren.Prinkey@mdcourts.gov>
       To: Ryan Wagner <ryan@mxt3.com>
       Date Sent: Friday, July 12, 2024 11 :10:47 AM GMT-04 :00
       Date Received : Friday, July 12, 2024 11 :10:51 AM GMT-04:00

       Good morning,

       Once aga in t his case has not been assigned to Judge Truffer. Please contact the clerk 's office is you need information .

       Thank you,
       Lauren


       Lauren Prinkey
       Judicial Assistant to the Honorable Keith R. Truffer
       Circuit Court for Baltimore County
       40 I Bosley Avenue
       Towson, MD 21204
       410-887-65 15 (Office)
       4 10-296-1 8 10 (Fax)

       From : Ryan Wagner <ryan@mxt3 .com>
       Sent: Friday, July 12, 2024 9:53 AM
       To: Lauren Prinkey <Lauren.Prinkey@mdcourts.gov>
       Subject: Fw: [EXTERNAL) Ohana Growth Partners, LLC v. Ryan Di ll on-Capps - C-03-CV-24-2264


       .@Lauren Prjnkey.@mdcourts g~ I am sorry to bother you , but could you forward me the original email that Mr. Brennen is referring to in his email to me on
       the 24th. I couldn't find it and I wasn't aware you had my email address until the 24125th .

       Also , are you able to grant me access to the entire case record online? They filed the case with either no email address or an email address I don't have
       access to , and I have linked my correct email address to the case , but I can't see anything , and I feel like I am missing correspondence.

       Respectfully,
       RDC

       From : Brennen, Robert S. <RBRENNEN@milesstockbridgem>
       Sent: Monday, June 24, 2024 6:58 PM
       To: ryan@mxt3 com <rvan@mxt3 com >
       Subject: Fwd : [EXTERNAL) Ohana Growth Partners, LLC v. Ryan Dillon-Capps - C-03-CV-24-2264



       Sent from my iPhone

       Begin forwarded message:

        From : Lauren Prinkey <Lau ren .Prinkev@mdcourts.gQY>
        Date: June 21, 2024 at 12:04:28 EDT
        To: "Brennen , Robert S." <RBRENNEN@mi(esstockbridgem>, "Frenkil , Steven D." <sfrenki(@milesstockbridge.com >, r,,an@mxt3.com
        Subject: [EXTERNAL) Ohana Growth Partners, LLC v. Ryan Dillon-Capps - C-03-CV-24-2264



        [EXTERNAL]

        Good afternoon ,

        Please see the attached orders from the court.

        Thank you ,
        Lauren


        La uren Prinkey
        Judicial Assistant to the Honorable Keith R. Truffer
        Circuit Court for Baltimore County
        40 I Bosley Avenue
        Towson, MD 2 1204
        4 10-887-65 15 (Office)
        4 10-296-1 810 (Fax)




       Confidentiality Notice :
       This e-mail, lnduding any attachment(s), is intended for receipt and use by the Intended addressee(s) , and may contain confidentia l and prlvi leged information . If you are not an Intended recipient of this e-mail, you are hereby
       notified that any unauthorized use or distribution of this e-ma il ls strictly prohibited , and reques ted to delete thls communication and its attachment(s ) without mak ing any copies thereof and to contact the sender of th is e- mail
       Immediately. Nothing contain ed in the body and/ or header of this e-mail Is Intend ed as a signature or intended to bind the addressor or any person represented by the add resser to the terms of any agreement that may be the
       subject of this e-mail or its attachment(s), except where such intent Is expressly indicated .

       Any federa l tax advice provided In this communicat ion Is not Intended or written by the author to be used , and cannot be used by the recipient, for the purpose of avoiding pena lties which may be imposed on the recipient by the IRS.
       Please contact the author if you wou ld li ke to receive written advice In a format which complies with IRS rules and may be relied upon to avoid penalties.



       ~ oload/Download files dick here




    Troffer Assistant                                                                                               Page# 1 of 1                                                                                                               105
                 Case 1:24-cv-03744-BAH           Document 16-6          Filed 01/03/25       Page 28 of 84


    Subject: Commission on Judicial Disabilities Complaint Form
    From : Maryland Judiciary Commission on Judicial Disabilities <MDCourts.no-reply@mdcourts.gov>
    To: complaintsJD@mdcourts.gov
    Cc: ryan@mxt3 .com
    Date Sent: Tuesday, October 8, 2024 2:50:38 PM GMT-04:00
    Date Received : Tuesday, October 8, 2024 2:50:39 PM GMT-04:00

    Your submission to the Maryland Commission on Judicial Disabilities has been received. Please note this email
    address is not monitored and does not accept replies. Submitted form information: Form submitted on Tue,
    I 0/08/2024 - 14:48

    Form details:



    COMPLAINT INFORMATION
    First Name:
    Ryan

    Last Name:
    Dillon-Capps

    Address:
    1334 Maple Ave

    Cityffown:
    Essex

    State/Province:
    MD

    ZIP/Postal Code:
    21221

    Phone Number:
    703-303-1113

   Email
   rxan @mxt3.com

    Preferred Title and Pronoun:
    X

    Are you currently incarcerated?
    No



    JUDGE INFORMATION



                                                            1/ 3
Director Bernstein                                       Page# 1 of6                                          Exhibit 105
                 Case 1:24-cv-03744-BAH          Document 16-6            Filed 01/03/25         Page 29 of 84
    First Name:
    Baltimore Country

    Last Name:
    Circuit Court

    Court:
    Circuit Court

    County/City:
    Baltimore Country/ Towson



    CASE INFORMATION
    Case Name:
    Ohana Growth Partners, LLC v Ryan Dillon-Capps

    Case Number:
    C-03-CV-24-002264

    Case Type:
    Civil

    Date(s) of Hearing (s) or Other Proceeding(s):
    June 14 Filed

    Case Status:                                                      The form wouldn't allow for the files to be attached directly.
    Pending                                                           Filing the Motion to Compel got around this problem.


    Relationship to the case:
    Defendant/Respondant/Appellee

   Were you represented by an attorney?
   No

    Do you know any witnesses to the judge's alleged sanctionable conduct, impairment, or disability?
    No



    STATEMENT OF FACTS
    Complaint Summary:
    The motion to compel is a good starting point. The court record is a good follow up.

    I will provide the court until tomorrow to act. Any time after that I will send my certified mail the complaint
    forms for each Judge.

    The upload doesn't seem to be functioning properly. the motion to compel is part of the court record now.




                                                           2/ 3
Director Bernstein                                      Page# 2 of6                                                  Exhibit 105
                 Case 1:24-cv-03744-BAH   Document 16-6     Filed 01/03/25   Page 30 of 84
    Signature:




    Date:
    2024-10-08




                                                 3/ 3
Director Bernstein                            Page# 3 of6                                    Exhibit 105
                Case 1:24-cv-03744-BAH            Document 16-6            Filed 01/03/25   Page 31 of 84




                                                     STATE OF MARYLAND
                                             COMMISSION ON JUDICIAL DISABILITIES
                                                         P.O.Box340
                                              Linthicum Heights, MD 21090-0340
                                                        410-694-9380
                                                    www.mdcourts.gov/cjd




                                                    October 11 , 2024

          Ryan Dillon-Capps
          1334 Maple Avenue
          Essex. MD 2121

                     Re:    FY25- l 81 Unk/Dillon-Capps

          Dear Mr. Dillon-Capps:

                 The Maryland Commission on Judicial Disabilities ("Commission") has received your
          correspondence containing allegations against an unknown judge of the Circuit Court for
          Baltimore County.

                  Pursuant to Maryland Rule 18-421(b), the allegations have been considered and found
          not to constitute a meritorious complaint that should be pursued because they are factually
          unfounded, or even if proved, fail to es tab Iish sanctionable conduct, impairment, or disability on
          the part of the unknown judge. If you have additional information in support of the allegatiol)s,
          including the identity of the judge in question, please submit it in writing within the next 30 days
          either by mail to the address above or by email to comm.JD@mdco s.gov.

                    Please note that the Commission does not have the authority to change, modify, or
          reverse a judge's decision or otherwise intervene in any court proceeding. Investigations
          conducted by this office are required by law to be confidential. For further information
          about the Commission, please refer to www.mdcourts.gov/cjd.

                     Thank you for your cooperation.

    Robinson , DeGonia, and Bernstein met the Week of Oct 7 -     Sincerely,
    11 and the shared language is a direct result.



                                                                  Director/Investigative Counsel

          TCB/pg



                                     Maryland Relay Services (TTNoice) 1-800-735-2258
@
Director Bernstein                                        Page# 4 of6                                            Exhibit 105
                   Case 1:24-cv-03744-BAH           Document 16-6          Filed 01/03/25        Page 32 of 84

    Subject: FY25-181 Unk/Dillon-Capps
    From : Ryan Wagner <ryan@mxt3.com>
    To: commjd@mdcourts .gov
    Date Sent: Sunday, November 10, 2024 2:01 :25 AM GMT-05 :00
    Date Received : Sunday, November 10, 2024 2:01 :25 AM GMT-05:00
    Attachments : affidavit-factual-basis.pdf,motion-compel .pdf,2024-06-26-transcript.pdf,2024-06-27 Contempt Hearing
    Transcript Full Page.pdf

    Greetings and Salutations to Tanya C Bernstein,


    I recently reviewed your letter, and I am deeply concerned by its implications. Due to space restrictions on the
    form, I was unable to provide complete information in my initial response, which is why l referenced the Motion
    to Compel and relevant court records. That filing was necessary to ensure all pertinent information remained
    available to the commission.

    To summarize the current situation:

        I. Background of the Case: This lawsuit is based on fabricated claims by both the Plaintiff and their law
           firm , who acted collectively to evade accountability for prior misconduct.

        2. Key Facts:

               o     In open court, the Plaintiff's counsel admitted to violating my FMLA rights and acknowledged that
                     the basis for the injunctive relief was unfounded. After I filed to require their appearance in a
                     hearing to substantiate their claims, they filed for dismissal.
               o     Two experts confirm the harm caused by the Plaintiff and law firm, documenting that I am now
                     suffering from catatonia with malignant symptoms, dissociation, severe memory loss, and other
                     significant impacts. Supporting evidence-including emails, letters, credit reports-demonstrates a
                     decline from stable financial stand ing to financial defaults, impacting not only myself but also my
                     disabled brother, elderly mother, and wife with cerebral palsy.

        3. Judicial Misconduct and Procedural Violations:

               o The judiciary granted a TRO without notice, issued a two-day notice for a show cause hearing
                 without a preliminary hearing, and dismissed my jurisdictional motions (FMLA , ADA , and FTC Act
                 with multu-state interests, each involvi ng federal protections) without hearing them. My motion for
                 a continuance was denied with after l said "motion for continuance because"
               o Additional Procedural Violations include:
                     ■ A premature default order (later vacated).
                     ■ A ruling opinion containing inappropriate remarks mocking my disability.
                     ■ Partial and inconsistent rulings on motions, with standards applied so inconsistently that it
                       evidences clear favoritism and bias.
                     ■ Dismissal w ithout prejudice despite pending counterclaims and unresolved motions.
                     ■ Repeated rulings of "MOOT" on active, outstanding issues-strategically used to obstruct
                       legitimate review.
                     ■ 10 or more motions for hearings have been filed, all denied or not ruled on. Among these, a
                       motion for adjudicated fact remains unaddressed, and a hearing granted while Judge Robinson
                       was on leave was canceled upon his return.

    The Motion to Compel details a report of systemic judicial violations within the Baltimore County Circuit Court
    Bench, which have only escalated. Judge Robinson has transitioned from inaction to actively protecting these
    violations.




Director Bernstein                                         Page# 5 of6                                               Exhibit 105
      '   j
                Case 1:24-cv-03744-BAH            Document 16-6          Filed 01/03/25       Page 33 of 84
   Please confinn by Sunday that imm ediate actions are be ing init iated. I am attac hing the docu ments on record,
   includ ing recent efforts to address thi s situati on, the referenced Motion to Compel, and two critical transcripts.

   As you rev iew, consider the Plaintiff's evasion of acco untab il ity, the fabr icated c lai ms, and th e extensive harm
   infli cted on me after years of dedi cated serv ice to them because they were worried about me fi ling
   formal charges, lawsuit, or so methin g re lated to one or more of the many legal issues I reported on. Their actions
   culm inated in the use of estoppe l and breach of acco rd, w ith affidav its and expert testi mony confirmi ng that
   inj unctive re lief was unn ecessary.

   Had I seen your letter sooner, I would have responded immediately, but at thi s poin t, urgent action is required .
   Sunday, November 10, 2024 may be your onl y opportuni ty to respond . I can only hope you were misled by the
   Motion to Compel that Judge Robinson ruled on, as it remained on the docket far longer than the dismi ssal
   order. However, the letter indicates language that mirrors the strategic language being used by the bench and the
   law firm which unfortunately leads me to believe that improper influence is more like ly occurring, and I as much
   as I dislike viewing actions realistically, instead of optimistically, the ri sk and harm is too high for me to
   continue giving participants benefit of the doubt without any evidence to the contrary. I wo ul d love to be wrong,
   and hope swift action later today demonstrates th at evidence.

   Thank yo u fo r yo ur prompt attention to these serious issues. That is not a complete list of violations by the
   bench.

   Sorry to be a rain c loud on yo ur Sun day,
   Ryan Dillon-Capps
   703 -303-111 3 (text)
   zyan@mxt3.com (emai l)




Director Bernstein                                       Page# 6 of6                                             Exhibit 105
               Case 1:24-cv-03744-BAH               Document 16-6           Filed 01/03/25        Page 34 of 84


   Subject: Urgent - Miles & Stockbridge filed fraudulent lawsuit and compromised circuit court judges
   From : Ryan Wagner <ryan@mxt3.com>
   To: complaints@agc.maryland .gov
   Date Sent: Friday, October 4 , 2024 12:02: 10 AM GMT-04:00
   Date Received : Friday, October 4, 202412:02:10 AM GMT-04:00
   Attachments : 20241003-C-03-CV-24-002264-complaintform .pdf

   That wasn't hyperbole. Attached is a complaint. Case is clear and it's just the start.

   It has been 45 days since last ruling --

   Ryan Dillon-Capps
   [Y.an@mxt3.com
   703-303-1113
   prefer text and email - unplanned calls rarely make it past the AI.




              Bar Counsel recieved over a thousand pages of exhibits. Every time they were
              prompted, they confirmed involvement.




Bar Counsel DeGonia II                                     Page# 1 of9                                        Exhibit 105
                     Case 1:24-cv-03744-BAH                          Document 16-6                     Filed 01/03/25     Page 35 of 84

                                            PRIVATE AND CONFIDENTIAL - DO NOT DISSEMINATE
                                                         MARYLAND RULE 19-707

                                   ATTORNEY GRIEVANCE COMMISSION OF MARYLAND
                                           ATTORNEY COMPLAINT FORM

               Please read the instructions included with this form before filing a complaint.

               (1)      Your contact information:                       Mr.   D Mrs. D Ms. D Mx. D Doctor D Honorable D
                        Ryan                               Aurelius                                      Dillon-Capps X
                        First                              Middle                                       Last                Preferred Pronouns
                        1334 Maple Ave
                        Street
  Please text or email Essex       Baltimore County MD                                                         21221
  my AI assistant
  keeps the calls      City        County           State                                                      Zip Code
  away.                ryan@mxt3.com
                        Email address( es)
                                                                       703-303-1113
                        Home phone                                    Cell phone                               Work phone

               (2)      Attorney against whom you wish to file a complaint:
                        Miles                                          &                                       Stockbridge
                        First                                         Middle                                   Last
                        100 Light Street
                        Street
                        Baltimore                             Baltimore City County             MD             21202
                        City                               County                             State            Zip Code


                        Email address(s)


                        Work phone                                    Cell phone

               (3)      Did you hire the attorney? Yes                            No        X
                        If yes, give the approximate date you employed the attorney: _ __ _ _ _ _ _ _ If yes, please enclose a copy of any
                        retainer agreement with this form .
                        If yes, state the amount(s) paid to the attorney and the date(s) of payment:
                                  Robert Brennen (rbrennen@milesstockbridge.com)
                                  Steven Frenkil (sfrenkil@milesstockbridge.com)
Amount(s) paid: _ _ _ _ _ _ _ _ _ Holly Butler (hbutler@milesstockbridge.com)
                                  Victoria Klein (vklein@mi lesstockbridge.com)
Date(s) paid: _ _ _ _ _ _ _ _ _ _ Kim Edwards (kjedwards@milesstockbridge.com)
                                  Jessica Duvall Uduvall@MilesStockbridge.com)
                                  * I believe it may be Victoria Klein who needs to be omitted ifit is confirmed she has been on
          1                       maternity leave for the majority of the case. My memory is Swiss cheese on things, but not
                                  delusional with false memories, I recall there being a female attorney pregnant and on the 17th
                                  before the break I noted the attorneys on record was similar or exactly as the one I remembered as
                                  being pregnant. The additional of Duvall suggests they may have had the baby.
   Bar Counsel DeGonia II                              Page# 2 of9                                                   Exhibit 105
                  Case 1:24-cv-03744-BAH                   Document 16-6               Filed 01/03/25             Page 36 of 84

                                     PRIVATE AND CONFIDENTIAL - DO NOT DISSEMINATE
                                                  MARYLAND RULE 19-707


            (4)      If your answer to No. 3 above is "No", what is your connection with the attorney? Please
                     explain briefly.
                     They are opposing counsel by record, co-consirators and co-plaintiff's in

                     actuality


            (5)      Include with this form (on a separate piece of paper if necessary) a statement of what the
                     attorney did or did not do that is the basis of your complaint. Please state the facts as you
                     understand them. Do not include opinions or arguments. If you employed the attorney, state
                     what you employed the attorney to do. Sign and date each separate piece of paper. Additional
                     information may be requested.
                     C-03-CV-24-002264 -- everything siad herein is intentional and known unless

                     otherwise stated . Miles & Stockbride filed a fraudulent lawsuit designed to aide

                     them both in avoiding judicial review and an attempt to discredit me.

                     After suffing a mental break moments after first contact with M&S I have been

                     heavily diminished in my capacity and my pre-existing PTSD that I was on
                     FMLA
                     leave for when they violated FMLA and ADA to execute their plan. Fortunately,

                     in the past 3 months I have recovered enough to be about 1/3 back and that
                     was
                     enough for me to act in a moment of lucidity to provide adequate defense and

                     explose them and their influence on six Circuit Court Judges that have acted

                     far beyond Judicial Discrection. Now 45 Days since the last ruling


            (6)      If you have made a complaint about this same matter to any official or agency, state the
                     (their) name(s), and the approximate date you reported it:
                     The court record will be a good starting point
                     We should talk afterwards - urgency and haste. It gets far worse then what I have currently disclosed to the court.



            (7)      If your complaint is related to any case filed in court, please provide the following:
                     Baltmore County Circuit Court Ohana Growth Partners, LLC v Ryan Dillon-Capps
                     Name of Court                                                        Title of Case
                     C-03-CV-24-002264 June 14, 2024
                     Case Number                                                          Date Case was Filed




                                                                          2


Bar Counsel DeGonia II                                              Page# 3 of9                                                            Exhibit 105
                  Case 1:24-cv-03744-BAH              Document 16-6            Filed 01/03/25       Page 37 of 84

                                    PRIVATE AND CONFIDENTIAL - DO NOT DISSEMINATE
                                                 MARYLAND RULE 19-707

            (8)       If you are or have been represented by any other attorney with regard to the matter, state
                      the name, address and telephone number of the other attorney:
                       Lost my attorney from their lies before they filed on record

            (9)       Do you require translation services? Yes _ _ No _x__

                      If yes, state the language in which you need translation services: _ _ _ _ _ _ _ _ _ _ __

                      If you require translation services in order to process your complaint, it may delay our
                      communications with you. ls someone available to provide translation assistance for you so that
                      we may communicate with you in English? Yes _ _ No _x__

            (10)      Have you read the instructions for filing this complaint and the Frequently Asked
                      Questions? Yes _ _ No _X_ _ Despite my legal dominance in the past 2 weeks - I am still
                                                          heavily diminished and getting this done as it is now took a week.
                      NOTE: Our office now scans all materials, which include complaints and attorneys ' responses. We
                      ask that when you submit your complaint, please do not bind, staple, or insert tabbed dividers. If
                      you wish to identify exhibits, please mark them in the bottom comer or insert identifiable sheets
                      before each exhibit. Please do not place sticky notes on the documents you submit. Instead, write
                      your remarks on a sheet of paper placed in front of the page on which you are commenting.




                                                                       Date:          October 3, 2024




            Please mail or email completed Complaint Form and any attachments and enclosures to:

                      Office of Bar Counsel
                      Attorney Grievance Commission of Maryland
                      200 Harry S. Truman Parkway, Suite 300
                      Annapolis, MD 21401

                      complaints@agc.maryland.gov

                   I don't want to sound paranoid, but considering Miles & Stockbridge demonstrating, with ease,
                   the ability to compromise upwards of six Baltimore County Circuit Court Judges - I would
                   feel more comfortable if a neutral party with no prior favorable experiences with the law firm
                   was involved. I reiterate that I am heavily diminished and I don't know ifl can properly trust
                   someone with prior favorable engagement and this is entirely a me problem. Chalk it up to
                   PTSD and a weakened state being unnerved.




                                                                   3



Bar Counsel DeGonia II                                       Page# 4 of9                                              Exhibit 105
                  Case 1:24-cv-03744-BAH                           Document 16-6                  Filed 01/03/25               Page 38 of 84

   Subject: RE : Urgent - Miles & Stockbridge filed fraudulent lawsuit and compromised circuit court judges
   From : Maryland Attorney Grievance Commission Complaints <complaints@agc.maryland .gov>
   To: "ryan@mxt3.com" <ryan@mxt3 .com>
   Date Sent: Monday, October 7, 2024 1:01 :35 PM GMT-04:00
   Date Received: Monday, October 7, 2024 1:01 :41 PM GMT-04:00

   Thank you for your email. Your correspondence was received and is being processed as a new complaint.
   Should we need any additional information from you, we will contact you in writing.

   Sincerely,                                  6: 12 AM Affidavit of Harm is reviewed by someone outside of the clerks office.
                                               12:50 PM Notice of Hypothesis of Crayon's is Reviewed
                                               1:01 PM The Bar Counsel Responds to the contents of the Notice.
   The Office of Bar Counsel

                           Attorn ey Gri evance Commi ssion of Maryland
                           200 Harry S. Trum an Parkway
                           Suite 300
                           Annapolis, MD 2 1401-7479
                           Phone: (410) 5 14-7051
                           Email: complaints@~gc.ma[Y.land.gov
                           Web :www.courts.state.md.us/attygrievance/fa~~

   Confidentiality Note : This email message an d attachments contain information which is confide ntial and/or legally privileged. The information is
   intended on ly for the use of the ind ividua l or entity named on this email. If yo u are not the intended recipient, you are hereby notified that any
   di sclosure. copy ing, distri bution. or the taking of any action in re liance on the conten ts of th is email information, is strictly prohibited and that the
   documents should be returned to me immed iate ly. If you have rece ived this email in error or by accidenta l transmi ss ion, please noti fy me by return
   emai l or te lephone (41 0-5 I 4-705 1); im med iate ly delete all e lectro ni c copies of this email and all attac hments; and destroy all hard copies. Thank you .




   From: Ryan Wagner <ryan@mxt3.com >
   Sent: Friday, October 4, 2024 12:02 AM
   To: Maryland Attorney Grievance Commission Complaints <complaints @agc.maryland .gov>
   Subject: Urgent - Miles & Stockbridge tiled fraudulent lawsuit and compromised circuit court judges

   IYou don't often get email from rY.an@mxt3 .com . Learn whY. thi s is imr.ortant
   That wasn't hyperbole. Attached is a complaint. Case is clear and it's just the start.

   It has been 45 days since last ruling --

   Ryan Dillon-Capps
   .ryan@mxt3.com
   703-303-1113
   prefer text and email - unplanned calls rarely make it past the Al.

    CAUTION : This message originated from outside of the AGC email system. Be mindful before clicking on links, attachments, or
    providing personally identifiable Information or financial information. Be especially careful when replying to messages that
    contain personally identifiable information.




Bar Counsel DeGonia II                                                       Page# 5 of9                                                                Exhibit 105
               Case 1:24-cv-03744-BAH            Document 16-6           Filed 01/03/25        Page 39 of 84

   Subject: Re: Urgent - Miles & Stockbridge filed fraudulent lawsuit and compromised circuit court judges
   From : Ryan Wagner <ryan@mxt3.com>
   To: Maryland Attorney Grievance Commission Complaints <complaints@agc.maryland.gov>
   Date Sent: Wednesday, October 23 , 2024 2:01 :48 PM GMT-04:00
   Date Received : Wednesday, October 23, 2024 2:01 :48 PM GMT-04:00
   Attachments: reply-opposition-expedited-discovery.pdf, 18381686-20241011-1500-ruling-third-admin-hearing.pdf,2024-06-27
   Contempt Hearing Transcript Full Page.pdf,2024-06-26-transcript.pdf


   Greetings and Salutations,

   I was recently informed by Miles & Stockbridge in an unexpected manner that you had reached out to them , and
   they expressed displeasure in filings unrelated to their client on October 11 , 2024. I am attaching other relevant
   documents for your review, which are not insignificant in length. I assume you have better access to the records
   than I do.

   Attached is the reply in opposition to expedited discovery, which consolidates previous points without adding
   new information. I never anticipated writing such words, let alone in a court filing , but the truth remains
   unchanged regardless of my Pro Se status.

   I fully understand the distinction between judicial and attorney complaints, but I have long argued that Miles &
   Stockbridge's influence extends beyond acceptable professional boundaries. I am sharing this not to focus on the
   court but to highlight the influence being exerted to avoid accountability. Also attached are the June 26th and
   27th hearing transcripts, along with a ruling from the administrative judge, issued 12 days ago, for an urgent
   hearing that remains unresolved.

   Miles & Stockbridge 's continued involvement, despite prior warnings, should not be overlooked . In my
   experience, when someone accepts one form of liability, it's because they believe it's the lesser. If I may offer a
   recommendation-observe from a distance. Should this matter proceed to a hearing, I believe the BAR's
   presence would provide more insight than any preemptive action . If Miles & Stockbridge withdraws
   representation, it will signal that the risk exceeds their commitment to Ohana. If they stay, their continued
   involvement could warrant formal investigation.

   This lawsuit is just the beginning of their legal troubles, and I expect future filings to move toward separate
   criminal and civil proceedings. Please let me know if you need any further information.

   Please let me know if you require any additional information.

   With thought and purpose,              This was the second prompt to DeGonia to reveal alignment - this
   The 'unbelievable' Dillon-Capps        information directly influenced behavior from Robinson , Ensor, Stringer, and
                                          Mayer. Pattern matching established controls.


   On Mon, Oct 7, 2024 at I :01 PM Maryland Attorney Grievance Commission Complaints
   <complaints@agc.ma[Y.land.gov> wrote:

      Thank you for your email. Your correspondence was received and is being processed as a new complaint.
      Should we need any additional information from you, we will contact you in writing.



      Sincerely,



      The Office of Bar Counsel


Bar Counsel DeGonia II                                   Page# 6 of9                                             Exhibit 105
               Case 1:24-cv-03744-BAH                 Document 16-6        Filed 01/03/25         Page 40 of 84


   Subject: Re: Urgent - Miles & Stockbridge filed fraudulent lawsuit and compromised circuit court judges
   From: Ryan Wagner <ryan@mxt3.com>
   To: Maryland Attorney Grievance Commission Complaints <complaints@agc.maryland .gov>
   Date Sent: Monday, October 28, 2024 10:40:15 AM GMT-04:00
   Date Received: Monday, October 28, 2024 10:40: 15 AM GMT-04:00
   Attachments : amended-affidavit-abussive-use-judicial-system .pdf

   They filed to withdraw, I filed what I needed to and there before I moved them into position I already had an
   urgent hearing that was supposed to be scheduled and an injunctive request.

   Page 21 of the attached affidavit is my statement for the BA Rs intervention under Expedited Injunctive Hearing
   19-732.             !Confirming Alignment      I
   The only action that will not result in further irreparable harm as stated in the affidavit is an expedited hearing
   and it's been over 2 weeks on the one I already have without a schedule. The Notice of Voluntary Withdrawal
   gives the BAR the unique ability under I 9-732(g) to limit or prohibit the withdrawal.

   Tfyou need more information then it is yours to have, but if they are allowed to withdraw -- they can not. literal
   lives are on the line.
   RDC

   On Wed, Oct 23 , 2024 at 2:01 PM Ryan Wagner <n:an@ mxt3 .com> wrote:

      Greetings and Salutations,

      I was recently informed by Miles & Stockbridge in an unexpected manner that you had reached out to them ,
      and they expressed displeasure in filings unrelated to their client on October 11 , 2024. I am attaching other
      relevant documents for your review, which are not insignificant in length. I assume you have better access to
      the records than I do.

      Attached is the reply in opposition to expedited discovery, which consolidates previous points without adding
      new information. I never anticipated writing such words, let alone in a court filing , but the truth remain s
      unchanged regardless of my Pro Se status.

      I fully understand the distinction between judicial and attorney complaints, but I have long argued that Miles
      & Stockbridge 's influence extends beyond acceptable professional boundaries. I am sharing this not to focu s
      on the court but to highlight the influence being exerted to avoid accountability. Also attached are the June
      26th and 27th hearing transcripts, along with a ruling from the administrative judge, issued 12 days ago, for an
      urgent hearing that remains unresolved.

      Miles & Stockbridge 's continued involvement, despite prior warnings, should not be overlooked. In my
      experience, when someone accepts one form of liability, it's because they believe it's the lesser. If I may offer a
      recommendation-observe from a distance. Should this matter proceed to a hearing, I believe the BAR's
      presence would provide more insight than any preemptive action. If Miles & Stockbridge withdraws
      representation, it will signal that the risk exceeds their commitment to Ohana. If they stay, their continued
      involvement could warrant formal investigation.

      This lawsuit is just the beginning of their legal troubles, and I expect future filings to move toward separate
      criminal and civil proceedings. Please let me know if you need any further information .

      Please let me know if you require any additional information .

      With thought and purpose,
      The 'unbelievable' Dillon-Capps


Bar Counsel DeGonia II                                     Page# 7 of9                                            Exhibit 105
               Case 1:24-cv-03744-BAH               Document 16-6           Filed 01/03/25         Page 41 of 84


   Subject: Re : Urgent - Miles & Stockbridge filed fraudulent lawsuit and compromised circuit court judges
   From : Ryan Wagner <ryan@mxt3.com>
   To: Maryland Attorney Grievance Commission Complaints <complaints@agc.maryland.gov>
   Date Sent: Monday, November 4, 2024 6:54: 17 PM GMT-05:00
   Date Received : Monday, November 4, 2024 6:54:17 PM GMT-05:00


   I am reaching out to request a status update on my previously filed complaint concerning multiple attorneys at

   the law firm of Miles & Stockbridge, PC, and to request corrections in the complaint to reflect the correct

   individuals :

   I.   Correct List of Attorneys:

        I. Robert Brennen (AIS#871 20 I 0068)

        2. Steven Frenkil (ATS#7712010110)

        3. Holly Butler

        4. Victoria Hoftberger (ATS# 1912170195)

        5. Jessica Duvall (ATS# 1812110110)

   II. Corrections to Report:
        I. Please remove K. Edwards, as they are a Legal Practice Assistant, and do not meet the criteria of this

          complaint.

        2. Remove V. Klein, who was mistakenly listed.

        3. Add Victoria Hoftberger, who was unintentionally omitted.

   III. Observations and Concerns:
            This case is based on litigation without a legal or factua l foundation , leading to sustained personal and

   professional harm. The opposing counsel's conduct reflects deliberate engagement in frivolous, vexatious, and

   malicious litigation without regard for the harm caused. Additionally, I have substantial grounds to believe that

   M&S's conduct, including their leveraging of professional courtesy and reputation, has directly impacted

   procedural integrity, contributing to rulings that sustain a baseless case and weaponize litigation for harm and

   abuse of process to evade accountability. They will not succeed on either.




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Bar Counsel DeGonia II                                      Page# 8 of9                                            Exhibit 105
               Case 1:24-cv-03744-BAH            Document 16-6         Filed 01/03/25       Page 42 of 84

   2        This case's broader implications for procedural and ethical accountability require scrutiny of M&S's

   internal communications and any statements to the Bar. lf M&S has provided any misleading or incomplete

   statements regarding their involvement and knowledge, it is essential that these records come under review. This

   review would be a critical measure to restore procedural fairness, particularly if intervention and corrective

   action could prevent further harm. To be clear, the law firm engaged in this lawsuit with their own interest in

   harming me to protect themselves.

   IV. Request for Immediate Action and Records Disclosure:

   3        Given the significant procedural and ethical issues here, I request an expedited internal review and

   disclosure of any records or statements from M&S to the Bar regarding this case. These records may help

   mitigate harm to others. My counterclaims should help establish a basis because they are aimed at proving bad-

   faith litigation, procedural abuse, witness tampering, obstruction of evidence, and ethical misconduct on

   the part ofM&S. My case involves ongoing and irreparable harm , including an exacerbation of my PTSD and

   associated health concerns, which has led to critical health threats. This has been sworn in multiple affidavits to

   the court, establishing the urgency and severity of the situation. Justifying option 2, intervention.

   4        In addition to the status update, I request that M&S 's communications with the Bar be made accessible

   for discovery purposes. If M&S has presented an incomplete or misleading narrative, it is imperative to rectify

   this through proper channels. Alternatively, if the Bar finds substantial evidence supporting intervention, 1 would

   appreciate immediate action. My intent in requesting these records and intervention is not only to safeguard my

   interests but also to ensure transparency and accountability within Maryland's legal system and balancing the

   scales to reduce harm and protect trust in the judiciary.

   5        I trust that the gravity of these circumstances and the documented impact will warrant timely action .

   Given the procedural abuses in this matter, your office 's response will signal the appropriate course forward.



   Final thought to aid a decision. Read the opposition to the Motion of Sanctions for October 25 , 2025 , by Miles

   & Stockbridge. Considering all the things Tam affirming and including in other papers, a citation with minimal

   impact and easily corrected is what they choose to frame a dishonest argument against me. What they don ' t

   argue speaks volumes -- time is limited for them , Tcan not mitigate my actions for much longer. It was hard

   enough waiting until after the election.
                                                       The Nov 4 Email was to Stagger Final Confirmations.


   Thank you for your attention and understanding.

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Bar Counsel DeGonia II                                  Page# 9 of9                                          Exhibit 105
                    Case 1:24-cv-03744-BAH            Document 16-6       Filed 01/03/25   Page 43 of 84




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                               Rl/AN DILLON-cApps

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.   Notice of Hypothesis of Crayons                       Page# I of 39                                    Exhibit I 05
                    Case 1:24-cv-03744-BAH        Document 16-6         Filed 01/03/25   Page 44 of 84




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.   Notice of Hypothesis of Crayons                    Page # 2 of 39                                    Exhibit 105
                    Case 1:24-cv-03744-BAH       Document 16-6        Filed 01/03/25   Page 45 of 84




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.   Notice of Hypothesis of Crayons                   Page# 3 of 39                                    Exhibit 105
                    Case 1:24-cv-03744-BAH      Document 16-6        Filed 01/03/25   Page 46 of 84




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.   Notice of Hypothesis of Crayons                 Page # 4 of 39                                    Exhibit I 05
                    Case 1:24-cv-03744-BAH          Document 16-6        Filed 01/03/25   Page 47 of 84




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.   Notice of Hypothesis of Crayons                       Page# 5 of39                                     Exhibit I 05
                    Case 1:24-cv-03744-BAH      Document 16-6         Filed 01/03/25   Page 48 of 84




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.   Notice of Hypothesis of Crayons                  Page # 6 of 39                                    Exhibi t 105
                    Case 1:24-cv-03744-BAH        Document 16-6          Filed 01/03/25   Page 49 of 84




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.   Notice of Hypothesis of Crayons                     Page # 7 of 39                                    Exhibit I 05
                    Case 1:24-cv-03744-BAH      Document 16-6          Filed 01/03/25   Page 50 of 84




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.   Notice of Hypothesi s of Crayons                  Page # 8 of 39                                    Exhibit 105
                    Case 1:24-cv-03744-BAH      Document 16-6          Filed 01/03/25   Page 51 of 84




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.   Notice of Hypothesis of Crayons                  Page # <) of .W                                    Exhibit 105
                    Case 1:24-cv-03744-BAH      Document 16-6         Filed 01/03/25   Page 52 of 84




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.   Notice of Hypothesis of Crayons                  Page# IO of:l9                                    Exhibit 105
                    Case 1:24-cv-03744-BAH      Document 16-6             Filed 01/03/25   Page 53 of 84




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.   Notice of Hypothesis of Crayons                      Page# 11 of3 9                                    Exhibit 105
                    Case 1:24-cv-03744-BAH     Document 16-6        Filed 01/03/25   Page 54 of 84




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                                                                                                Page 12 of 39




.   Notice of Hypothesi s of Crayons               Page# 12 of 39                                    Exhibit 105
                   Case 1:24-cv-03744-BAH          Document 16-6       Filed 01/03/25   Page 55 of 84




                         cibt.clck at. the thou3ht.. of bein3 char3eq wit.h a crime simpl9 For

                         ciskin3 for help----all while unable lo Finq clear 3uiqance as lo

                         whether the9 even 9ualiF9 For assisl-..ance?

                                 2        Whoever thou3ht.. it. was reasonable lo pencilii.e

                         someone For ciskin3 for help has clearl9 never experienceq

                         these challen3es From the other siqe. Al the Lime m9 memor.9       1




                        3cips were St.ill measurable b9 the number of qa9s since m9 lasl

                         memor9 anq I was expect..eq lo recall the specific qel-..ails oF
                                      1




                         m9 Finances? I ar3ue thCll it a person has no income or if the         1




                         loss of ~e briCII woulq resull in their incibili~ lo meet. fine1ncicil

                         obli3cib.ions-because they are nol inqepenqer1ll9 wealth9 or




                                                                                                    Page 13 of39




.   Notice of Hypothesis of Crayons                    Page# 13 of39                                    Exhibit 105
                    Case 1:24-cv-03744-BAH       Document 16-6       Filed 01/03/25   Page 56 of 84




                         capable of suswir1ir13 l:..hemselves For years withoub. income-

                         l:..her1 l:..he9 qualify For assiswr1ce.

                                 3    The burqen of qel:..ermir1in3 eli.9ibili~ For assiswr1ce

                         shoulq resl:.. wit.h l:..he sbclee) which musl:.. proviqe a wriu.en

                         qecision explainir13 wh9 assiswnce was 3rar1l:..eq or qer1ieq. We

                         re9uire lenqers l:..o proviqe writ.l:..efl explar1at.ior15 For why ar1

                         applicat.ion For creqil:.. is qer1iect if lenqers cctfl jusl:..if y qer1yir13

                         creqil:..) t.her1 surely t.he sbclee-which seeks l:..o qeprive

                         iriqiviquals of t.heir fiber~ ariq t.heir abilil:..9 l:..o suswir1

                         l:..hemselves-shoulq bear t.he responsibilil:..y of explair1ir13 why

                         assiswr1ce is qeriieq. The swl:..e shoulq rio1:. rely on fear ar1q

                         confusion l:..o qel:..er iriqiviquals from applyiri3-

                                                                                                 Page 14 of 39




.   Notice of Hypothesis of Crayons                  Page# 14 of39                                    Exhibit 105
                    Case 1:24-cv-03744-BAH       Document 16-6        Filed 01/03/25   Page 57 of 84




                                             HOISTED BY YOUR OWN PETARD

                                  iO   Brin3in3 LtS back 1:..0 where we st.arl:..eq- first.

                         impressions. A person seekin3 public represenhQt.ion isn't. qoin3

                         so becaLtse l:..hey have l:..he Financial means 1:..0 hire prival:..e

                         coLtnsel. IF l:..hey qiqJ ii:.. woLtlq only be t.emporar.9) anq l:..hey

                         woLtlq be letl:.. l:..hinkin3 abowl:.. whal:.. happens when l:..hose fwnqs

                         rLtn owl:... I know exad:Jy whal:.. wowlq have happeneq if I haq

                         hireq an a1:..1:..orne9 in l:..his case- I wowlq have lost..

                                  ii   "Hoist.eq b_y _your own pehelrct" For l:..hose wnFamiliar

                         wil:..h l:..he phrase) reFers 1:..0 a pet.arq-<1 meqieval explosive

                         qevice LtSeq 1:..0 breach walls. To be hoist.eq b_y _your own pet.Clrq

                         means 1:..0 be blown up b_y the ver.9 qevice inl:..enqeq 1:..0 harm


                                                                                                  Page 15 of 39




.   Notice of Hypothesis of Crayons                   Page# 15 of39                                    Exhibit 105
                    Case 1:24-cv-03744-BAH          Document 16-6           Filed 01/03/25   Page 58 of 84




                         ~our enem.s,. The phrase has since become a metAphor For t.he

                         l!Oin~nqeq ne3at-ive conseqllences of one's own ad.ions. In

                         ever9 sense of t.he phrase t.he qeJa_ys in rulin3s qesi3r1eq 1:.0
                                                             1                                1




                         qeprive me of m~ voice er1qeq up backfirin3. These ver9 qela9s
                                                        1




                         alloweq me l:.ime 1:.0 recover ar1q when t.he qefallil:. orqer was
                                                                 1




                         Finall~ 1:.ri33ereq ii:. acl:.ival:.eq arlOl:.her l:.rauma respor1se-<1
                                            1




                         Sl!rvivaJ mechanism.

                                  i2   Normall9 I suFFer From complliSive empath~ when
                                                1




                         ur1qer a1:.t:Ack which makes ii:. r1earl9 impossible For me 1:.0 asserl:.
                                        1




                         an a33ressive qefer1se. l-lowever when f aceq wil:.h extreme
                                                                        1




                         Qllress- speciticall.s, wher1 finaJi~ is ir1!:.roqucect such as t.he

                         t.hreal:. oF a qefallil:. orqer-m9 survival irisl:.ir1c1:.S t:Ake over. The

                                                                                                        Page 16 of39




.   Notice of Hypothesis of Crayons                     Page# 16 of39                                        Exhibit 10.'i
                    Case 1:24-cv-03744-BAH         Document 16-6        Filed 01/03/25   Page 59 of 84




                         iflevil:Able co(lse9ueflce of a fiflal orqer woulq have beefl t:.he


                         enq of m~ career t:.he collapse of my bl!siness prospecb.6 aflq
                                               1                                                         1




                         t:.he cal:.clst1ophic qeStll!cl:.ion of my tiflaflcial bct5e. I fl t:.hat..

                         momefll) my survival iflsliflclS freeq me from t:.he paraly2Jfl3

                         3rip of compulsive empat:.hy t:.hal haq) ufllil t:.hefl preveflleq me
                                                                                          1




                         From asserlifl3 m9 ri3hlS more qireclly Clflq forcefully.

                                  i3   For t:.hose who apprecicit..e irofly il was t:.he very f acl
                                                                                 1




                         t:.hal the~ were hoisbeq on their own pel:.clrq- coupleq wit:.h t:.he


                         absence of an at.b.Orne~           t:.hal alloweq me lo slop t:.hem ifl t:.he

                         fiflal momefllS before t:.hey succeeqeq ii'\ fir1ali2Jfl3 t:.he qefal!lt-

                         orqer. Their qela_ys) avera3ifl3 over three weeks lo rule or1 my

                         filifl3s) ullimalel_y eXleflqeq my lime lo file cm answer. This


                                                                                                    Page 17 of 39




.   Notice of Hypothesis of Crayons                    Page # 17 of39                                    Exhibit 105
                    Case 1:24-cv-03744-BAH      Document 16-6         Filed 01/03/25   Page 60 of 84




                         qela9 3ave me t.he opport.uflit.9 t.O 30 From experieflcifl3 week-

                         Jon.9 memor~ .9aps t.O Ofll9 hours oF lost. t.ime .

                                 4    Wit.hout. t.hat. improvemer1t.) I woulq have lost. conl:.exl:..


                         ent.irely aflq wast.eq precious hours Joopin.9 ifl conf usior\


                         result.ifl3 ifl f\Ot.hir13 beifl3 Fileq. That. is precisel9 what.

                         happeneq back ir1 ]line) whefl I reali2.eq at. or,e point. t.hat. I

                         coulqn't. recall what. haq occurreq over t.he previous nine qa~s.


                         In jllJ~) I Faceq similar perioqs) wit.h three l:..O six qa~s at. a

                         t.ime where I coulqfl't. remember where t.he qocumeflt.S) I haq

                         been workir13 on haq 3ofle. This leq t.O quplicat.eq work aflq

                         overwhelmifl3 bout.S of qepression anq hopeJessness.




                                                                                                  Page 18 of39




.   Notice of Hypothesis of Crayons                  Page # 18 of39                                    Exhibit I 05
                    Case 1:24-cv-03744-BAH           Document 16-6         Filed 01/03/25   Page 61 of 84




                                        THROWN FROM BED AND SOMEWHERE ElSE

                                  1.4   I was t£rrifieq anq fell:. more helpless in t.hal::.


                         momenl::. than cjltrin3 any of t.he avocib.ies thal::. form t.he basis

                         of m9 mosl::. l::.rawmal::.ic life experiences anq PTSD-momenl::.6

                         For which I only have parl::.ial memories. Yel::.J I can viviqly recall

                         the feeHr1.9sJ l::.he smells) the tASl£sJ anq l::.he sol!nqs from !:.hose

                         experierices-serisal::.ions thal::. are permarienl:Jy embeqqecj within

                         me. Bwl::. never before have I fell so qepriveq oF my co.9r1ib.ive

                         abilities as I cjicj when I lil::.erally fosl:. somet.hin.9 thal wa6 iri

                         my hariq. I wowlcj walk ir11::.o a room holqin3 an oejecl::., anq then

                         ii:. wol!lcj qisappear leaqiri3 me 1::.0 t£ar apctl:. t.he enl::.ire room
                                                 1




                         searchiri3 For l::.hal::. sin3le o~ecl::..


                                                                                                       Page 19 of39




.   Notice of Hypothesi s of Crayons                     Page # I 9 of39                                    Exhibi t 105
                    Case 1:24-cv-03744-BAH        Document 16-6       Filed 01/03/25   Page 62 of 84




                                  1.5   Then t-here is t-he ocfcf sense1bion t-hctt. hctpperis wheri


                         yoLtr miriq "~rns back ori''-tne momerit. wheri yoll SLtqqerily
                         _


                         have an awareness oF where 9OLt are bLtt. St.rLt331e t.O connect.

                         t-he present. t.O t-he cont.ext- of what. was happeriiri3 before.

                         The qisconnect- bet.Ween t-he t.WO is harcl t.O qescribe excepl      1




                         t-hal il Feels like 3oir13 lo becj ir1 yollr owri home orie ni3hl                  1




                         only lo wake Ltp iri a complet-ely qif ferer1t.. place ariq lime as if         1




                         .9OLt've beer, bhrown from bhe beef. Yollr Firsl t-hOLt3hl is t-he

                         corifLtsiori o( "Whal jLtSl hctppefleq? Where am I?"


                                 1.b    A momeflt. lat.er, 9OLt reali2.e t-hal ho~rs, cfa~s or everi
                                                                                                  1




                         over a week has passect aflq yoLJ're nol everi iri t-he same

                         dobhes or t-he same beef 9OLt Fell asleep iri. The qream yoLt

                                                                                                      Page 20 of39




.   Notice of Hypothesis of Crayons                   Page# 20 of39                                     Exhibit 105
                    Case 1:24-cv-03744-BAH        Document 16-6       Filed 01/03/25   Page 63 of 84




                         were jusl:.. haviri3 faqe5 From memor9) leavir13 9ou uriable l:..o

                         everi recall whal:.. il:.. was aboul:... Iri my case) l:..hal:.. liWe momenl-:.


                         of l:..ime- l:..he orie sliver of cont.exl-:. I haq l:..o explain


                         ari9l:..hiri3-was jusl:.. suippeq awa9.

                                 1.1   Wheri l:..hal:.. tosl-:. bime sl:..re~hes inl:..o qa~s or more) m9


                         f irsl:.. inst.incl:.. is l:..o Fi3ure oul:.. whal:. I've qone- or nol-:. qone-

                         iri l:..hose losl:.. qa9s. on mari9 occe1sioris! I woulq barel9 meel:.. a

                         qeaqline because I eil:..her haq no iqea whal:.. I hClq beeri qoin3,

                         or I coulqnl Finq whal:.. I haq been workin3 on. Everi wheri I


                         haq somel:..hin3 reaq9 l:..o file) I woulq reali2.e I was workin3 on

                         somel:..hin3 else l:..hal:.. I coulqnl remember anq) or1ce a3airi) I

                         coulqril Finq l:..he qocumenl:.. I rieeqeq.


                                                                                                  Page 21 of 39




.   Notice of Hypothesis of Crayons                   Pagc#2 1 of39                                    Exhibit 105
                    Case 1:24-cv-03744-BAH          Document 16-6        Filed 01/03/25     Page 64 of 84




                                  1.8   tv'ly walls are covereq in qr.9-erase boarqs, papers

                         pinneq in places l:.hal:.. are nol:.. occLtpie4 anq a calenqar 1:..0 help


                         me l:..rack qeaqlines. In l:.hose momenl:.5 of ILtciqi~, I woLtlq

                         focLtS all my ener39 o(l f ilir'l3 l:.he nexl:.. imporl:..ar'll:.. i~m o(l l:.he

                         lisl:.., knowin3 l:.hc:tl:.. my abilil:..y l:..o c:tcl:.. was always limil:..eq by l:.he


                         nexl:.. memor.9 lapse.


                                              UNAFFORDABLE AND UNAccpT ABLE

                                  1.9   Do _yoll know whal:.. fear anq Feelir'l3s oF hopelessness

                         qo 1:..0 a person? The Bllreall of jllSb.ice S~b.isb.ics reporl:..6 l:.hal:..

                         l:.he Slliciqe rab.e ir'l local jails is five b.imes hi3her l:.har'l ir'l l:.he

                         3er'leral popLtlc:tl:..iOr'l, wil:.h many of these inciqenl:.5 occL1rrin3

                         short.J.9 aft.er qeb.enb.ion- ofl:..en wil:.hin l:.he Firsl:.. '14 hollrs. For

                                                                                                         Page 22 of39




.   Notice of Hypothesi s of Crayons                     Page# 22 of39                                      Exhibit I 05
                    Case 1:24-cv-03744-BAH     Document 16-6         Filed 01/03/25   Page 65 of 84




                         those wit.h qisabiJib.ies or men~I heaJth chaUen.9es) t.he rat.es are

                         even hi3her qLtrin3 or af t:.er le3al proceeqin3s) reflecLin3 how

                         vulnerable inqiviquals can be in these hi3h-51:.re5& sil:..uat.ion&.

                                 20   The avera.9e resiqent- of t.he count.9 will likel9 never

                         reaq t.his) but. I wrot:.e t.his in "cra~on" in t.he hope t.hat. it. will

                         st.anq out. enou3h For le.9al professionals t.O pick it. up anq reaq

                         it.. I am in a unique posit.ion where I can place t.hi& on t.he

                         court- recorct anq it. is nearl9 impossible For an9one t.O St.op it.

                         from beiri3 aqqeq. It. qirect.l9 relat.es t.O m9 ca&e) anq t.he

                         parallels qrawn bet.Ween these 5t.at.i5t.ics anq m9 personal

                         sit.uat.ion are le3iLimat:.e ar3ument.S. Unqer Mar~Janq Rule i-

                         202((1)) which emphasi2.es t.hClt. procequres &houlq not. unqul9


                                                                                                 Page 23 of39




.   Notice of Hypothesis of Crayons                 Page # 23 of~9                                    Exhibit 105
                    Case 1:24-cv-03744-BAH        Document 16-6          Filed 01/03/25   Page 66 of 84




                         consiqereq an obsl:Acle. The rule prohibit..S urmeces5ar9

                         f ormalit.ie5 t.hal:.. rest:1id:. access 1:..0 que process) anq m9

                         presentAt.ion is a qired:. reflect.iot'l of b.he ment!IJ anq emob.ionaJ

                         t.OJJ b.hese proceeqin3s have haq on me.


                         Turner v. Ro3ersJ 5b4 U.S. 431. (201.1.): The supreme courl:.. it'l
                         Turner v. Ro3ers emphasiz.eq t.he imporl:Ar1ce of en5urir13 l:..hal:..
                         it'lqiviqual5) especiall_y l:..hose f aciri3 qel:..et'll:..iori) are proviqeq wit.h
                         aqe9ua1:..e procequral prol:..ect.ior1s. The courl:.. reco3rii2.eq l:..he
                         vulrierabilil:..9 of inqiviquals wil:..hout:.. repre5et'ltAl:..ior1 anq l:..he
                         po1:..er1t.ial for que process vioJab.ions whet'l f ormalil:..ies ar1q le3al
                         processes are nol:.. maqe accessible 1:..0 l:..hem.
                         Zinermon v. Burct\ 494 u.s. 1.1.3 (1.990): In Zinermon v. Burch)
                         l:..he court:.. hi3hli3hl:..eq l:..he risks of procequraJ inaqe9uacies For
                         inqiviquals wit.h ment!IJ heaJbh chaHen3es. The case emphasiz.eq
                         l:..hal:.. when inqiviquals are no1:.. 3iven proper procequral


                                                                                                     Page 24 of39




.   Notice of Hypothesis of Crayons                    Page # 24 of 39                                    Exhibit I 05
                    Case 1:24-cv-03744-BAH       Document 16-6        Filed 01/03/25   Page 67 of 84




                         scife3Ltctrqs, pctrl:icLtlctrly in conl:.eXt..S b.hctl involve ment:AI hectlb.h or
                         VLtlnercibilily, il can leciq lo severe que process violal:,ions.

                                           PREDICTABILITY AND HAPPENSTANCE

                                  21.   InteJli.9ence anq counb.erinteJli.9ence work may nol be




                         nuance-in b.he qet:Ails b.hcil are ofl:. en overlookeq by everyone

                         else. However, for someone SLtfticienl:Jy ClllLtfleq lo b.hose minor

                         moment..S cinq qecisions, b.hese overlookeq qet:Ails can lell Cl




                         momenl b.hcil b.his were nol a frauquJenl; Jawsuit;- WhCll woLtlq




                                                                                                  Page 25 of39




.   Notice of Hypothesi s of Crayons                  Page# 25 of39                                    Exhibit 105
                    Case 1:24-cv-03744-BAH       Document 16-6           Filed 01/03/25   Page 68 of 84




                         Defenqant- raises a claim aboub. per compliance) anq suqqenl9 an

                         expert- is hireq. The DeFenqanb. poinb.5 oub. b.hab. Harbman

                         Execllt.ive Aqvisors CHEA) was nob. involve4 anq HEA proquces

                         an affiqavit- conb.raqicb.in3 b.ha1:-. A'c. face value) b.hese seem like

                         normal te.9at responses) bul:. upon do6er ir1sped:.ior1 b.he behavior1




                         t-ells a more qeliberat-e s1:-or9.

                                  22   The Famous collnb.erint.eHi.9ence case of GQnb.er

                         GlliHallmeJ an Easl:. (]erman spy} comes 1:-0 mir'lq. His exposure

                         came From some'c.hin3 as sub1:-le as how he hetq a flower llpsiqe

                         qown. In 'c.his case) we have a similar qeb.ail: b.he Firs!:. expert-

                         affiqavit- submil:.t-eq b~ Miles & Sb.Ockbriq.9e was unsi3neq} a

                         cril:-ical error. In 'c.heir hast-e 1:..0 evaqe scrul:..iriy) t.hey haq 1:..0


                                                                                                     Page 26 of39




.   Notice of Hypothesi s of Crayons                   Page # 26 of 19                                    Exhibit 105
                    Case 1:24-cv-03744-BAH       Document 16-6         Filed 01/03/25   Page 69 of 84




                          circLtmvenl:.. hhe rLtles anq lat.er al:..l:..ach hhe si3nal:..Ltre- a minor

                          bLtl:.. 1:.ellin3 miss1:.ep. This carelessness reveals hhal:.. RanqcdJ

                         Romes' Affiqavit- I was, in essence, bein3 helq Ltpsiqe qown.

                          Knowin3 how hhe law Firm read. s- hasl:..ily ancl qefensively-

                         presenu an opporwnil:..y 1:..0 la9 a 1:..rap where any act.ion l:..hey

                          ~ke wouk~ be a Joss.

                                  23   The circLtms~nces oF HEA's qepar~re anq

                          involvemenl:.. proviqe a s1:..ron3 Founqal:..ion For crealin3 such an

                         opporl:..unil:..y. The carelessness observeq in HoJJy BLtt.Jer's

                          inflammal:..ory responses, hhe hasl:..ily fileq lawsuil:.., anq hhe

                         missin3 si3na1:..ures are all parl:.. of a pau.ern. For hhose

                         Ltnfamiliar wihh hhe arl:.. of ineem.9ence, follow-up acl:..ions mLtsl:..

                                                                                                   Page 27 of 39




.   Notice of Hypothesi s of Crayons                  Page# 27 of 39                                    Exhibit 105
                    Case 1:24-cv-03744-BAH        Document 16-6         Filed 01/03/25   Page 70 of 84




                         be laiq OLtl:.. mel:.icLtloLtsl9. In EtQnt:.er Etllilklllme's case, a Familiar


                         person woLtlq appear on his re3Ltlar roLtt:..e, 3raqLtall9 3et:..t:..ir13

                         closer anq closer Ltr'll:..il il:.. seemeq perFed:. 19 flcJh.l.lral t-hah. t-he9


                         woLtlq exchar13e pleasant:..ries siqe b9 siqe- an orchest:..rat:..eq

                         moment:.. l:..hal:.. woLtlq expose him.


                                 24   While I ma9 be ment£1H,Y qiminisheq qLte t:..o l::.he

                         circLtmst:..ances oF l::.his case, h.hcth. qoes not:.. mean I am wit-hOLtl:..


                         awareness. I can sl:..ill Lt5e l:..his t:..o my aqvant:..a3e, mLtch like how

                         collnt:.erint:.eUi3ence efforl:..5 Lt5eq EtQnt:.er EtlliUallme's preqict:..able

                         roLtt:..e. same rollt:.eJ same preqict£tbJe behavior- cmq l:..hal:.. same

                         preqicl:..abilit:..9 3ives me l::.he opporl:..Ltr'lil:..9 b.o allow MiJes 8..




                                                                                                     Page 28 of39




.   Notice of Hypothesis of Crayons                     Page# 28 of39                                    Exhibit I 05
                   Case 1:24-cv-03744-BAH        Document 16-6        Filed 01/03/25   Page 71 of 84




                        S~ckbricl.9e t..0 qo what.. t.he_y alwa_ys qo: repeal:.. their

                         carelessness Ltlt..imat..el9 t..0 t.heir own qet..riment...
                                          1




                                              THE UNBELIEVABLE IS I <:,NORED

                                   25   This is wh9 I woLtlq have losl:.. if I haq hireq a


                         law_yer-becctLtSe I coulq barel9 3et.. ariyorie t..0 beJieve I hctq a

                         case let.. alorie t.hat.. I wasril a liar. To l:..hefl b.ell l:..hem t.hal
                               1




                         t.here was folll pla.9 aflq coHLtsion ctflq t.hat.. a law Firm tOLtflqeq
                                                                      1




                         ifl 1.932 we1s efl3a3ir13 iri 5Ltch act..S woulq have beefl qeemeq
                                                                          1




                         llObelievable. comifl3 from someo(le who,, ori some qe1ys coLtlqr'l'l:- 1




                         evefl remember Cl converSQt-400) where t.he~ haq placeq a file or                1




                         t.he Sbllb.lls of t.he case) m~ claims woLtlq have beefl i3r1oreq.

                         Ever9 effort.. woLtlq have repeat.eq the misbllkes I maqe wit.h


                                                                                                     Page 29 of39




.   Notice of Hypothesis of Crayons                  Page# 29 of 39                                    Exhibit 105
                    Case 1:24-cv-03744-BAH         Document 16-6         Filed 01/03/25   Page 72 of 84




                          Ohana: l:..hinkin3 l:..hah. obhers wouk~ believe l:..he meril:.6 of m9

                          case baseq on eviqence alone.

                                   2b   specificall9) I helq onh.o l:..he belief l:..hab. m9 ef f orl:.6-


                          backeq b_y eviqence- woulq be Sl!fficienb. it t.he9 were jusb.

                          revieweq b9 someone who wasn't.. biaseq or l:..he wron3

                          messen3er. Buh l:..hah.'s nob. how t.hin3s pk19eq ouL The acl:..ions

                          of tv'liJes g_ SVJckbriq.9e l:£ II a St.Or~ in Whal:.. iS l!nsaiq.

                                   21   Wil:..hin t.he col!rb.'s silence is anol:..her sh.or9) Aft.er I

                          poinb.eq oul:.. bhe qela9s in m9 f ilin3s bein3 enl:-ereq inh.o t.he

                          s_ysh.em) !:..here was an overcorrection. Now) when I submih.

                          somel:..hin3i il:..'s .9rabbeq immeqiab.eJ~J su33est.in3 l:..hah. m~ filin3s

                          are no lon3er bein3 i3noreq. so) h.o t.hct~ I senq a warm

                                                                                                     Page 30 of39




.   Noti ce of Hypothesi s of Crayons                   Page # 30 of39                                    Exhibit 105
                   Case 1:24-cv-03744-BAH       Document 16-6         Filed 01/03/25   Page 73 of 84




                                             9REETIN9S AND SALUTATIONS

                                 28   u.s. Disl:.ricl; Juct3e Eteor3e L. RusseH III ctenieq

                         former BQUJmore police officer Daniel Hersrs re9l.leSl; for

                         compassional;e release in November 2023. Her6t convicl;eq of


                         rcicket.eerin3 anq robber~ as parl; of \:..he C:illr'l Trace Task Force

                         sccmctcit ar3l.leq For release ql.le l;o his t.erminciJ cancer qie13nosis.

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.   Notice of Hypothesis of Crayons                  Page# 3 1 of39                                    Exhibit I 05
                   Case 1:24-cv-03744-BAH       Document 16-6        Filed 01/03/25   Page 74 of 84




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.   Notice of Hypothesis of Crayons                  Page# 32 of39                                    Exhibit 105
                   Case 1:24-cv-03744-BAH       Document 16-6         Filed 01/03/25   Page 75 of 84




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.   Notice of Hypothesis of Crayons                  Page # :n of39                                    Exhibi t I 05
                    Case 1:24-cv-03744-BAH         Document 16-6           Filed 01/03/25   Page 76 of 84




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.   Notice of Hypothesi s of Crayons                     Page # 34 of 39                                    Exhibi t 105
                    Case 1:24-cv-03744-BAH           Document 16-6          Filed 01/03/25   Page 77 of 84




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.   Notice of Hypothesis of Crayons                        Page# 35 of 39                                    Exhibit 105
                     Case 1:24-cv-03744-BAH       Document 16-6        Filed 01/03/25   Page 78 of 84




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.   Noti ce of Hypothesi s of Crayons                  Page# 36 of39                                    Exhibit 105
                    Case 1:24-cv-03744-BAH        Document 16-6         Filed 01/03/25   Page 79 of 84




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.   Notice of Hypothesis of Crayons                    Page # 37 of39                                    Exhibit 105
                Case 1:24-cv-03744-BAH   Document 16-6       Filed 01/03/25   Page 80 of 84




                                           .DECLARATION OF AFFIRtv1ATION


                     I SOLEMNLY DECLARE AND AFFIRM UNDER PENAL TIES OF PERJURY AND
                     UPON PERSONAL KNOWLEDGE THAT THE CONTENTS OF THE FOREGOING
                     PAPER THERETO ARE TRUE.


                     October 5, 2024                                 s/ Ryan Dillon-Capps
                                                                     Ryan Dillon-Capps (Pro Se)
                                                                     Email: ryan@mxt3.com
                                                                     1334 Maple Avenue
                                                                     Essex, Maryland 21221
                                                                     Telephone: (703) 303-1113




                                                                                          Page 38 of39



Notice of Hypothesis of Crayons              Page# 38 of39                                    Exhibit 105
                    Case 1:24-cv-03744-BAH         Document 16-6           Filed 01/03/25   Page 81 of 84




                                              RESPECTFULLY SUBMITTED

                                  Od:..ober 5, 2024

                                                                            Ryan Dillon-Capps (Pro Se)
                                                                            Email : ryan@mxt3.com
                                                                            1334 Maple Avenue
                                                                            Essex, Maryland 21221
                                                                            Telephone: (703) 303-1113




                                                   CERTIFICATE OF SERVICE

                     I I-IEREBY CERTIFY l:.hal:. on Ocb.Ober SJ 2024) a cop~ of Not.ice for

                     Hypo~sis of crayons via email t:.o rbrennen@miJessb.Ockbrict.9e.com aricj

                     servecj on via firsl::..-dass mail post113e prepaicj on:


                                  Robert S. Brennen
                                  Miles & Stockbridge P.C.
                                  I 00 Light Street
                                  Baltimore, Maryland 21202



                                                                            ls/Ryan Dillon-Capps
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                                                                                                         Page 39 of39



.   Notice of Hypothesi s of Crayons                    Page # .W of 3CJ                                    Exhibi t 105
              Case 1:24-cv-03744-BAH           Document 16-6          Filed 01/03/25       Page 82 of 84
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 THE ADVOCATE                                         Pag 14                                                 May 20_J
Clerk Ensor                                          Page# 1 of3                                            Exhibit 105
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                                                  4'IJDITII      Page 83 of 84

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 THE ADVOCATE                                           Page l5                                             May 2021
Clerk Ensor                                            Page# 2 of3                                         Exhibit 105
            Case 1:24-cv-03744-BAH Document 16-6 Filed 01/03/25 Page 84 of 84
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  THE ADVOCATE                                           Page 16                                             May 2021
Clerk Ensor                                            Page# 3 of3                                         Exhibit 105
